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                                                                    In re Magnum Construction Management, LLC
                                                                              Case No. 19-12821 (AJC)
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             Claim                                                                                                                                                       Debtor
Date Filed    No.                     Creditor Name                                           Address                         Claim Amount              Nature           Number
                                                                         Courtney Rhoades 100 N. Michigan Street South
05/08/2019      213 1st Source Bank                                      Bend, IN 46601                                     W/D                 Secured           19-12821
04/09/2019       89 777 Lakes LP                                         218 W. Wall Street Grapevine, TX 76051                      $53,959.20 General Unsecured 19-12821
05/06/2019      166 A&B Pipe & Supply, Inc.                              6500 NW 37th Ave Miami, FL 33147                            $23,101.31 General Unsecured 19-12821
                    A.C. Schultes of Florida dba Jaffer Well Drilling,
03/27/2019       24 Inc.                                                 1451 SE 9th Court Hialeah, FL 33010                          $2,250.00    General Unsecured 19-12821
05/08/2019      194 ABC Construction, Inc.                               7215 Northwest 7 Street Miami, FL 33126                    $134,227.34    General Unsecured 19-12821
                                                                         5290 Shawnee Road, Suite 300 Alexandria, VA
11/18/2019      287 ABC Imaging of Washington, Inc.                      22312                                                        $7,137.39    General Unsecured 19-12821
                                                                         Brett M. Rosen 1111 Brickell Ave., #2180 Miami, FL
05/07/2019      184 Abel De-Armas Nunez                                  33131                                               UNLIQUIDATED          General Unsecured 19-12821
03/29/2019       32 Acrow Corporation of America                         181 New Road, Ste 202 Parsippany, NJ 07054                   $7,040.52    General Unsecured 19-12821
                                                                         Jon Kendrick, Esq. 1776 N Pine Island Rd. Suite 118
05/09/2019      237 Advanced Roofing, Inc.                               Plantation, FL 33322                                       $768,432.73    General Unsecured 19-12821
03/25/2019       11 Advanced Systems Inc.                                1415 South 30th Ave Hollywood, FL 33020                      $5,145.99    General Unsecured 19-12821

                                                                         Attn Aaron McCollough McGuireWoods LLP 77 West
05/06/2019      164 Aetna Life Insurance Company and Its Affiliates      Wacker Drive, Suite 4100 Chicago, IL 60601           UNLIQUIDATED         Secured             19-12821
                                                                         Attn Erica Ryan 4501 College Blvd, Ste. 320
05/06/2019      162   AFCO Credit Corporation                            Leawood, KS 66211                                           $167,435.38   Secured             19-12821
03/29/2019       36   Airgas USA, LLC                                    110 West 7th St. Suite 1400 Tulsa, OK 74119                  $32,194.81   General Unsecured   19-12821
04/02/2019       67   Airgas USA, LLC                                    110 West 7th St. Suite 1400 Tulsa, OK 74119                   $1,620.68   General Unsecured   19-12821
04/02/2019       69   Airgas USA, LLC                                    110 West 7th St. Suite 1400 Tulsa, OK 74119                      $13.06   General Unsecured   19-12821
                                                                         c/o Sweigart Law Group, P.A. 12161 Ken Adams
05/08/2019      200 Airquest Environmental, Inc.                         Way, Suite 123 Wellington, FL 33414                         $126,349.75   General Unsecured 19-12821
                                                                         Christos Lagos, Esq. 66 W Flagler Street, Suite 1000
04/29/2019      134 Alejandro Ramirez                                    Miami, FL 33130                                      UNLIQUIDATED         General Unsecured 19-12821
                                                                         R. Scott Shuker 111 North Magnolia Avenue, Suite
04/12/2019       96 Alexander Estupinan                                  1400 Orlando, FL 32801                               UNLIQUIDATED         General Unsecured 19-12821
                                                                         Attn Ms. Donna Raine 777 South Andrews Avenue
05/09/2019      231 Allegiance Crane & Equipment, LLC                    Pompano Beach, FL 33069                                     $170,803.50   General Unsecured 19-12821

                                                                         Joshua Golembe Butler Weihmuller Katz Craig, LLP
05/09/2019      235 Allegiance Crane & Equipment, LLC                    400 N. Ashley Drive, Suite 2300 Tampa, FL 33602    UNLIQUIDATED           General Unsecured 19-12821
                                                                         2701 Vista Pkwy Unit A8 West Palm Beach, FL
03/27/2019       25 Allied Trucking of PBLC                              33411                                                       $1,279.72 General Unsecured 19-12821
10/04/2019      285 Alpha Divers Mia LLC                                 2750 NW North River Drive Miami, FL 33155          UNLIQUIDATED       General Unsecured 19-12821
                    ALTA Home Remodeling Co. dba ALTA Quality            Moises Montanez 15358 SW 62nd Street Miami, FL
04/01/2019       44 Builders                                             33193                                                       $24,666.62 General Unsecured 19-12821



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                                                                 In re Magnum Construction Management, LLC
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             Claim                                                                                                                                                    Debtor
Date Filed    No.                     Creditor Name                                         Address                          Claim Amount            Nature           Number
                                                                      Becket and Lee LLP PO Box 3001 Malvern, PA
03/25/2019       12 American Express National Bank                    19355-0701                                                     $744.97 General Unsecured 19-12821
                    American Express Travel Related Services          Becket and Lee LLP PO Box 3001 Malvern, PA
03/25/2019       13 Company, Inc.                                     19355-0701                                                $3,941,504.09   General Unsecured   19-12821
04/01/2019       51 American Lifting Products                         1828-1832 NW 82nd Ave Doral, FL 33126                           $452.01   General Unsecured   19-12821
04/24/2019      129 Ameriseal of Ohio, Inc.                           200 Weller Dr. Smithville, OH 44677                           $7,088.00   General Unsecured   19-12821
11/19/2019      288 AmeriTemp Employment II, Inc.                     15301 NW 7th Avenue Miami, FL 33169                          $33,194.08   General Unsecured   19-12821
10/01/2019      284 Amroad LLC                                        3975 Pembroke Road Hollywood, FL 33021-8126                   $7,604.67   Secured             19-12821
                    Ana Maria Oviedo Garcia as Personal
                    Representative of the Estate of Rolando Fraga,    Christos Lagos, Esq. 66 W Flagler Street, Suite 1000
04/29/2019      140 Deceased                                          Miami, FL 33130                                      UNLIQUIDATED         General Unsecured 19-12821
04/01/2019       43 Aquatic Landscaping Design, Inc.                  25405 SW 107 Ave Homestead, FL 33032                         $24,211.00   General Unsecured 19-12821
                                                                      Matthew Maranges, Esq. 8000 SW 117 Ave, Ste 206
05/08/2019      216 Arazoza Brothers Corporation                      Miami, FL 33183                                              $12,002.64   General Unsecured 19-12821
                                                                      Alexander Baisden 400 N Pine Island Road
05/08/2019      188 Armando Campo                                     Plantation, FL 33325                                        $400,000.00   General Unsecured 19-12821
                                                                      Scott A. Underwood, Esq. 401 E. Jackson St. Suite
05/08/2019      201 Ash Grove Cement Company                          2400 Tampa, FL 33611                                        $193,367.34   General Unsecured 19-12821
                                                                      Scott A. Underwood, Esq. 401 E. Jackson St. Suite
05/08/2019      215 Ash Grove Cement Company                          2400 Tampa, FL 33611                                 EXPUNGED             General Unsecured 19-12821
04/22/2019      121 Associated Flooring Co.                           14629 SW 104th Street, #504 Miami, FL 33186                   $3,475.67   General Unsecured 19-12821
                                                                      1970 N.E. 153rd Street Bay 7 North Miami Beach, FL
05/07/2019      227 Atlantic Shutters, Inc.                           33162                                                       $354,094.00   General Unsecured 19-12821
                                                                      1970 N.E. 153rd Street Bay 7 North Miami Beach, FL
05/10/2019      239 Atlantic Shutters, Inc.                           33162                                                EXPUNGED             General Unsecured 19-12821
                                                                      Mary Lou Segouia 4701 Altamesa Blvd #1G Ft.
05/10/2019      254 Avanza Construction & Earthworks LLC              Worth, TX 76133                                              $53,598.00   General Unsecured 19-12821
                                                                      James S. Myers, Esquire 201 East Kennedy
09/24/2019      282 Axis Insurance Company                            Boulevard, Suite 815 Tampa, FL 33602                        $929,303.72   Secured           19-12821
05/10/2019      241 Bane Machinery, Inc                               PO Box 541355 Dallas, TX 75354                               $12,181.06   General Unsecured 19-12821
                                                                      Andrew T. Jenkins, Esq. Bush Ross, P.A. 1801 N.
05/09/2019      228 Bank of America, N.A.                             Highland Ave Tampa, FL 33602                                 $55,000.00   Secured             19-12821

05/07/2019      179 Barnhart Crane And Rigging Company                Alison Smith 2163 Airways Blvd Memphis, TN 38114 UNLIQUIDATED             General Unsecured 19-12821

05/07/2019      180 Barnhart Crane And Rigging Company                 Alison Smith 2163 Airways Blvd Memphis, TN 38114          $439,166.25 General Unsecured 19-12821
                                                                       Americo Barreiro, President 25440 S.W. 140th Ave
04/04/2019       92 Barreiro Concrete Corp.                            Princeton, FL 33032-5433                                   $23,566.75 General Unsecured 19-12821
                    Beacon Sales Acquisition, Inc. DBA Allied Building c/o Lori Szymanski Allied Building Products 15 East
04/30/2019      143 Products                                           Union Ave East Rutherford, NJ 07073                         $6,751.43 General Unsecured 19-12821

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Date Filed    No.                       Creditor Name                                        Address                      Claim Amount                Nature           Number
                                                                      Patrick M. Mosely Hill Ward Henderson 101 E
05/08/2019      220 Berkshire Hathaway Specialty Insurance            Kennedy Blvd., Suite 3700 Tampa, FL 33602         UNLIQUIDATED             Secured             19-12821
                                                                      Santiago A Suarez 9780 NW 79th Avenue Hialeah
04/04/2019       71 Best Doors II                                     Gardens, FL 33016                                            $195.00       General Unsecured 19-12821
03/25/2019       10 Best Rolling Doors, Inc.                          9780 NW 79th Ave Hialeah Gardens, FL 33016                 $2,397.96       General Unsecured 19-12821
                                                                      10701 S. River Front Pkwy #300 South Jordan, UT
05/07/2019      182 Boral Resources LLC                               84095                                                      $1,116.68       General Unsecured 19-12821
                                                                      Brendan Dunphy 22-08 Route 208 South Fair Lawn,
05/06/2019      163 Brandsafway Services LLC                          NJ 07410                                                 $341,306.70       General Unsecured 19-12821
                                                                      Howard C Rubin Kessler & Collins, P.C. 2100 Ross
05/03/2019      159 Brookwood Embassy, LLC                            Avenue Suite 750 Dallas, TX 75201                        $257,825.91       General Unsecured 19-12821
                                                                      Attn Bankruptcy Section c/o Broward County
                                                                      Records, Taxes & Treasury 115 S. Andrews Ave. #A-
03/11/2019        1   Broward County                                  100 Ft. Lauderdale, FL 33301                              $17,251.70       Secured             19-12821
04/15/2019       98   C.L. Elias Construction, Inc.                   7440 SW 50 Terrace, Unit 103 Miami, FL 33155               $7,196.75       General Unsecured   19-12821
04/15/2019       99   C.L. Elias Construction, Inc.                   7440 SW 50 Terrace, Unit 103 Miami, FL 33155               $7,092.35       General Unsecured   19-12821
04/15/2019      113   C.L. Elias Construction, Inc.                   7440 SW 50 Terrace, Unit 103 Miami, FL 33155              $17,529.88       General Unsecured   19-12821
                                                                      7440 Southwest 50 Terrace, Unit 103 Miami, FL
04/15/2019      116 C.L. Elias Construction, Inc.                     33155                                                      $7,598.03       General Unsecured 19-12821
                                                                      7440 Southwest 50 Terrace, Unit 103 Miami, FL
04/15/2019      118 C.L. Elias Construction, Inc.                     33155                                                      $3,625.60       General Unsecured 19-12821
                                                                      7440 Southwest 50 Terrace, Unit 103 Miami, FL
04/15/2019      119 C.L. Elias Construction, Inc.                     33155                                                     $87,549.73       General Unsecured 19-12821

                                                                      Ira L. Libanoff, Esq. Ferencik Libanoff Brandt PA 150
05/13/2019      249 Caribe Utilities of Florida, Inc.                 S. Pine Island Rd., Ste. 400 Plantation, FL 33324             $92,035.37   General Unsecured 19-12821
                                                                      Andres Beregovich, Esq. 210 N. Mills Ave Orlando,
05/02/2019      146 Carlos Badillo                                    FL 32801                                              UNLIQUIDATED         General Unsecured 19-12821
                                                                      David Sampedro, Esq. 6950 N Kendall Drive Miami,
04/29/2019      141 Carlos Chapman & Erika Chapman                    FL 33156                                              UNLIQUIDATED         General Unsecured 19-12821
04/08/2019       77 Carrier Corporation                               PO Box 4808 Syracuse, NY 13221                                 $5,927.30   General Unsecured 19-12821
                                                                      Linda D. Reece c/o Perdue Brandon Fielder et al
                    Carrollton-Farmers Branch Independent School      1919 S. Shiloh Road, Suite 310. LB 40 Garland, TX
04/23/2019      127 District                                          75042                                                            $600.06   Secured             19-12821
                                                                      Transpo Industries, Inc 20 Jones Street New
04/08/2019       79 Castek, Inc                                       Rochelle, NY 10801                                             $1,589.87   General Unsecured 19-12821
                                                                      Edward J. Peterson, Esq. Stichter, Riedel 110 E.
05/08/2019      256 Cemex Construction Materials Florida, LLC         Madison St., #200 Tampa, FL 33602                     UNLIQUIDATED         General Unsecured 19-12821
05/20/2019      262 Central Tire Corp.                                8275 N.W. 74th Street Medley, FL 33166                         $5,278.93   General Unsecured 19-12821



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             Claim                                                                                                                                               Debtor
Date Filed    No.                        Creditor Name                                     Address                        Claim Amount          Nature          Number
                                                                      Daniel Te Young, Esq. 1600 South Federal Highway,
05/08/2019      209 Ceres Environmental Services, Inc.                Suite 570 Pompano Beach, FL 33062                 UNLIQUIDATED       General Unsecured 19-12821
04/25/2019      131 Cevacon Corporation                               11350 SW 145 Avenue Miami, FL 33186                       $28,076.89 General Unsecured 19-12821

05/10/2019      243 Chandler Signs                                    14201 Sovereign Rd Ste 101 Fort Worth, TX 76155                 $39,137.00 General Unsecured 19-12821
                    Chelsea Brownfield as P.R. of Estate of Brandon   Carlos Silva, Esq. Silva & Silva, P.A. 236 Valencia
05/02/2019      149 Brownfield                                        Ave Coral Gables, FL 33134                                  $50,000,000.00 General Unsecured 19-12821
                                                                      200 South 10th Street, Suite 900 Richmond, VA
03/26/2019       16 Cherry Bekaert LLP                                23219                                                           $51,647.62 General Unsecured 19-12821
                                                                      Keylin Olivares 12340 SW 117th Court Miami, FL
05/06/2019      169 Choppers Construction, Corp.                      33186                                                            $6,161.36 General Unsecured 19-12821
                                                                      Keylin Olivares 12340 SW 117th Court Miami, FL
05/06/2019      170   Choppers Construction, Corp.                    33186                                                            $4,590.25   General Unsecured   19-12821
04/01/2019       48   Chucks Backhoe Service, Inc.                    2301 NW 15 Ct Pompano Beach, FL 33069                            $1,569.02   General Unsecured   19-12821
04/01/2019       57   City of Allen, TX Utilities Dept.               305 Century Pkwy Allen, TX 75013                                 $1,957.85   General Unsecured   19-12821
04/01/2019       58   City of Allen, TX Utilities Dept.               305 Century Pkwy Allen, TX 75013                                 $1,209.09   General Unsecured   19-12821
04/01/2019       59   City of Allen, TX Utilities Dept.               305 Century Pkwy Allen, TX 75013                                 $1,944.13   General Unsecured   19-12821
04/01/2019       60   City of Allen, TX Utilities Dept.               305 Century Pkwy Allen, TX 75013                                 $1,010.64   General Unsecured   19-12821
04/01/2019       61   City of Allen, TX Utilities Dept.               305 Century Pkwy Allen, TX 75013                                 $6,478.03   General Unsecured   19-12821
04/01/2019       62   City of Allen, TX Utilities Dept.               305 Century Pkwy Allen, TX 75013                                 $4,066.57   General Unsecured   19-12821
04/01/2019       63   City of Allen, TX Utilities Dept.               305 Century Pkwy Allen, TX 75013                                 $1,003.69   General Unsecured   19-12821
04/01/2019       64   City of Allen, TX Utilities Dept.               305 Century Pkwy Allen, TX 75013                                 $1,003.69   General Unsecured   19-12821
                                                                      c/o A. Martinez Molina Weiss Serota Helfman 2525
                                                                      Ponce de Leon Blvd., Suite 700 Coral Gables, FL
08/27/2019      278 City of Homestead                                 33134                                                         $151,449.60 General Unsecured 19-12821
                                                                      c/o Shutts & Bowen LLP Lauren L. Stricker, Esq.
                                                                      4301 W. Boy Scout Blvd., Suite 300 Tampa, FL
05/08/2019      210 Coalition Lift, LLC                               33607                                                  EXPUNGED              Secured             19-12821
                                                                      c/o Shutts & Bowen LLP Lauren L. Stricker, Esq.
                                                                      4301 W. Boy Scout Blvd., Suite 300 Tampa, FL
05/13/2019      246 Coalition Lift, LLC                               33607                                                  UNLIQUIDATED          Secured             19-12821
                                                                      c/o Shutts & Bowen LLP Lauren L. Stricker, Esq.
                                                                      4301 W. Boy Scout Blvd., Suite 300 Tampa, FL
05/13/2019      246 Coalition Lift, LLC                               33607                                                  UNLIQUIDATED       General Unsecured 19-12821
04/01/2019       47 Component Sales and Service Inc.                  P.O. Box 11009 Houston, TX 77293                                $1,336.01 General Unsecured 19-12821
                    Concrete Holdings & Services, LLC dba C&C         C&C Concrete Pumping 12599 NW 107th Ave
05/21/2019      261 Concrete Pumping                                  Medley, FL 33178                                                $12,989.50 General Unsecured 19-12821
                                                                      Jeffrey T. Kucera, Esq. 201 S. Biscayne Blvd., Suite
05/08/2019      206 Core & Main, LP                                   3900 Miami, FL 33131                                         $4,797,547.48 General Unsecured 19-12821



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                                                                          Case No. 19-12821 (AJC)
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             Claim                                                                                                                                                 Debtor
Date Filed    No.                    Creditor Name                                         Address                           Claim Amount            Nature        Number
                                                                    Jeffrey T. Kucera, Esq. 201 S. Biscayne Blvd., Suite
05/09/2019      226 Core & Main, LP                                 3900 Miami, FL 33131                                   EXPUNGED          General Unsecured 19-12821
05/07/2019      178 Crown Castle Fiber LLC                          2000 Corporate Drive Cannonsburg, PA 15317                     $8,261.85 General Unsecured 19-12821
                                                                    Curtis Morrow 14510 SW 284 St Hornestead, FL
04/16/2019      107 Curtis Painting and Waterproofing, Co.          33033                                                           $9,457.16 General Unsecured 19-12821
                                                                    Elizabeth Weller Linebarger Goggan Blair &
                                                                    Sampson, LLP 2777 N. Stemmons Freeway, Suite
03/29/2019       37 Dallas County                                   100 Dallas, TX 75207                                   W/D                Secured           19-12821
                                                                    Elizabeth Weller Linebarger Goggan Blair &
                                                                    Sampson, LLP 2777 N. Stemmons Freeway, Suite
07/15/2019      271 Dallas County                                   100 Dallas, TX 75207                                   W/D                Secured           19-12821
                                                                    Elizabeth Weller Linebarger Goggan Blair &
                                                                    Sampson, LLP 2777 N. Stemmons Freeway Suite
07/22/2019      272 Dallas County                                   100 Dallas, TX 75207                                   W/D                Secured           19-12821
                                                                    H. Clay Roberts, Esq. 2665 South Bayshore Drive,
05/07/2019      185 Damian Mendez                                   Suite 300 Coconut Grove, FL 33133                      EXPUNGED           General Unsecured 19-12821
                                                                    H. Clay Roberts, Esq. 2665 South Bayshore Drive,
05/15/2019      257 Damian Mendez                                   Suite 300 Coconut Grove, FL 33133                      UNLIQUIDATED       General Unsecured 19-12821
05/02/2019      145 Days Inn                                        1700 W Broward Blvd Ft. Lauderdale, FL 33312           BLANK              General Unsecured 19-12821
                                                                    Emanuel & Zwiebel, PLLC 7900 Peters Road, Bldg
05/06/2019      172 De Lage Landen Financial Services, Inc.         B., Suite 100 Plantation, FL 33324                             $14,345.91 General Unsecured 19-12821
                                                                    Emanuel & Zwiebel, PLLC 7900 Peters Road, Bldg
05/06/2019      173 De Lage Landen Financial Services, Inc.         B., Suite 100 Plantation, FL 33324                            $259,809.42 General Unsecured 19-12821
                    Department of the Treasury - Internal Revenue   Internal Revenue Service PO Box 7346 Philadelphia,
08/19/2019      275 Service                                         PA 19101-7346                                                     $100.00 Priority          19-12821
                    Department of the Treasury - Internal Revenue   Internal Revenue Service PO Box 7346 Philadelphia,
10/29/2019      286 Service                                         PA 19101-7346                                                       $0.00 General Unsecured 19-12821
                                                                    5380 S.W. 208th Lane Southwest Ranches, FL
05/29/2019      263 Eagle Grinding and Grooving LLC                 33332                                                           $4,500.00 General Unsecured 19-12821
03/25/2019       15 Ebsary Foundation Company                       2154 N.W. North River Dr. Miami, FL 33125                       $4,132.00 General Unsecured 19-12821
                                                                    ECM Management of FL LLC 10342 Abbotsford Drive
05/14/2019      252 ECM Management of Florida LLC                   Tampa, FL 33626                                                 $6,687.39 General Unsecured 19-12821
                                                                    Ryan McKay 323 W Main Street PO Box 421
03/28/2019       29 Edwards Electric Service, LLC                   Philadelphia, MS 39350                                        $115,341.77 General Unsecured 19-12821
                                                                    Heidi Yanque 1800 NE Broadway Ave Des Moines,
03/28/2019       27 EFCO Corp.                                      IA 50313                                                       $29,843.13 General Unsecured 19-12821

04/08/2019       75 Elite Erosion Supply LLC                        4016-6 River Oaks Dr. #135 Myrtle Beach, SC 29579               $2,836.18 General Unsecured 19-12821
                                                                    Jerome Pivnik The Pivnik Law Firm 7700 N. Kendall
04/08/2019       81 Eloy Arriera                                    Dr., Ste. 703 Miami, FL 33156                                $3,500,000.00 General Unsecured 19-12821

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             Claim                                                                                                                                               Debtor
Date Filed    No.                   Creditor Name                                        Address                          Claim Amount          Nature          Number
03/28/2019        30 Emergency Ice LLC                              260 West 27 Street Hialeah, FL 33010                         $1,324.46 General Unsecured 19-12821
                                                                    R. Scott Shuker 111 North Magnolia Avenue,
04/12/2019       94 Emily Joy Panagos                               Suite1400 Orlando, FL 32801                         UNLIQUIDATED       General Unsecured 19-12821
04/01/2019       50 Energy Freight Systems                          2070 NW 79th Avenue Doral, FL 33122                         $40,017.00 General Unsecured 19-12821

                    Enterprise Fleet Management, Inc./Enterprise FM Arthur C. Neiwirth, Esq. QPWB Law 1 East Broward
05/08/2019      198 Trust                                           Blvd., Ste 1200 Ft. Lauderdale, FL 33301                     $22,161.78 Secured               19-12821
                                                                    Lee A. Smith 1100 NASA Parkway, Ste. 402
05/08/2019      191 Erosion Prevention Products, LLC                Houston, TX 77058                                           $378,759.67 General Unsecured 19-12821
                                                                    Collazo Law Firm P.A. 10200 NW 25th Street, Suite
05/03/2019      155 Estate of Alberto Arias                         201 Miami, FL 33172                                 UNLIQUIDATED          General Unsecured 19-12821
                                                                    Collazo Law Firm P.A. 10200 NW 25th Street, Suite
05/03/2019      158 Estate of Osvaldo Gonzalez                      201 Miami, FL 33172                                 UNLIQUIDATED          General Unsecured   19-12821
05/03/2019      157 Eugenia Xiomara Alvarez                         3636 W Flagler Miami, FL 33135                           $3,630,600.00    General Unsecured   19-12821
04/04/2019       74 Eventbrite                                      155 5th St. San Francisco, CA 94103                              $0.00    General Unsecured   19-12821
05/07/2019      181 FIA Trade Company                               2801 NW 74 Ave Suite 210 Miami, FL 33122                     $3,807.50    General Unsecured   19-12821

                                                                    Patricia A. Redmond FBN 303739 Stearns Weaver
05/09/2019      236 Figg Bridge Engineers, Inc.                     150 West Flagler St., #2200 Miami, FL 33130         UNLIQUIDATED          General Unsecured 19-12821
                                                                    c/o A. Martinez-Molina Weiss Serota Helfman 2525
                                                                    Ponce de Leon Blvd., Suite 700 Coral Gables, FL
05/09/2019      229 Fisk Electric Company                           33134                                               W/D                   General Unsecured 19-12821
                                                                    c/o Jeffrey Bast, Esq Bast Amron LLP 1 SE 3rd
08/27/2019      279 Florida Department of Transportation            Avenue, Suite 1400 Miami, FL 33131                  UNLIQUIDATED          General Unsecured 19-12821
                                                                    Sharon Hayes 6700 Las Colinas Blvd E3L Irving, TX
04/15/2019      103   Fluor Enterprises Inc.                        75039                                                     $209,451.31     General Unsecured   19-12821
07/22/2019      273   Four Seasons Equipment, LLC                   P.O. Box 4782 Houston, TX 77210                             $4,415.83     General Unsecured   19-12821
03/27/2019       26   G&C Cartage Co., Inc.                         6801 W 12th Street Jacksonville, FL 32254           EXPUNGED              General Unsecured   19-12821
04/18/2019      115   G&C Cartage Co., Inc.                         6801 W 12th Street Jacksonville, FL 32254                  $26,310.69     General Unsecured   19-12821
                      Gannett Fleming Project Development           Gannett Fleming Project Development Corp. 207
05/08/2019      211   Corporation                                   Senate Ave Camp Hill, PA 17011                               $43,365.34   General Unsecured   19-12821
05/08/2019      208   Gannett Fleming, Inc.                         207 Senate Avenue Camp Hill, PA 17011                        $33,252.57   General Unsecured   19-12821
05/08/2019      217   Gannett Fleming, Inc.                         207 Senate Avenue Camp Hill, PA 17011                     $1,420,186.29   General Unsecured   19-12821
05/08/2019      218   Gannett Fleming, Inc.                         207 Senate Avenue Camp Hill, PA 17011                       $548,752.46   General Unsecured   19-12821
                                                                    Anthony D. Lehman 3575 Piedmont Rd, NE, Bldg. 15
05/07/2019      175 Gate Precast Company                            Suite 850 Atlanta, GA 30305                                 $308,497.40 General Unsecured 19-12821

                                                                    Joshua Golembe Butler Weihmuller Katz Craig, LLP
05/09/2019      232 Georges Crane Service, Inc.                     400 N. Ashley Drive, Suite 2300 Tampa, FL 33602     UNLIQUIDATED          General Unsecured 19-12821



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             Claim                                                                                                                                                 Debtor
Date Filed    No.                     Creditor Name                                     Address                            Claim Amount           Nature           Number
                                                                   Attn Kimberly A. Bremer 2190 N.W. 110th Avenue
05/09/2019      233 Georges Crane Service, Inc.                    Miami, FL 33172                                      UNLIQUIDATED         General Unsecured 19-12821
                    Gina Duran and Orlando Duran, as Co-Personal
                    Representatives of Estate of Alexa Duran,      Alan Goldfarb, Esq 100 S.E. 2nd Street, Suite 4500
04/25/2019      130 Deceased                                       Miami, FL 33131                                      UNLIQUIDATED         General Unsecured   19-12821
04/08/2019       84 Gomez & Son Fence Corp.                        P.O. Box 226915 Miami, FL 33222                                 $205.75   General Unsecured   19-12821
04/08/2019       85 Gomez & Son Fence Corp.                        P.O. Box 226915 Miami, FL 33222                               $4,063.69   General Unsecured   19-12821
05/07/2019      177 Great Plains Farms, LLC                        3790 South Eaton Street Denver, CO 80235                    $500,000.00   General Unsecured   19-12821
05/08/2019      197 Greener Pastures Landscaping LLC               Bryan Dubose 1839 Ryan Rd Dallas, TX 75220                   $38,767.82   Admin Priority      19-12821
05/08/2019      197 Greener Pastures Landscaping LLC               Bryan Dubose 1839 Ryan Rd Dallas, TX 75220                   $42,725.90   General Unsecured   19-12821

                                                                   Timothy W. Brink c/o Meltzer, Purtill & Stelle 300
05/02/2019      153 Greenwich Insurance Company                    South Wacker Drive, Suite 2300 Chicago, IL 60606     UNLIQUIDATED         Secured             19-12821

                                                                   Timothy W. Brink c/o Meltzer, Purtill & Stelle 300
05/02/2019      153 Greenwich Insurance Company                    South Wacker Drive, Suite 2300 Chicago, IL 60606     UNLIQUIDATED         General Unsecured 19-12821
                                                                   Jason L. Cagle 13737 Noel Road, Suite 850 Dallas,
05/08/2019      214 Griffith Davison, P.C.                         TX 75240                                                      $85,137.21 General Unsecured 19-12821
                                                                   Herrera Law Firm, P.A. 2350 Coral Way Suite 201
04/10/2019       88 Grove Services of Miami, LLC                   Miami, FL 33145                                               $99,117.87 General Unsecured 19-12821
                                                                   Ward Campbell, Haigood & Campbell PO Box 1066
04/12/2019       90 Haigood & Campbell LLC                         Archer City, TX 76351                                         $55,698.72 General Unsecured 19-12821
                    HD SUPPLY Construction Supply, Ltd             Nicole Petrowski 501 W Church St Orlando, FL
04/17/2019      122 Construction & Industrial                      32805                                                        $109,989.38 General Unsecured 19-12821
                                                                   Heather A. DeGrave Walters Levine Lozano &
                                                                   DeGrave 601 Bayshore Blvd., Suite 720 Tampa, FL
05/08/2019      195 Herc Rentals, Inc.                             33606                                                        $140,707.40 General Unsecured 19-12821
04/16/2019      106 HJ Foundation Company                          8275 NW 80th Street Miami, FL 33166                          $154,370.74 General Unsecured 19-12821
03/25/2019        5 Holt Texas, Ltd. dba Holt CAT                  2000 E Airport Freeway Irving, TX 75062                      $146,159.42 General Unsecured 19-12821
                                                                   Honeywell Building Solutions 950 Keynote Circle
04/15/2019      102 Honeywell International, Inc                   Brooklyn Heights, OH 44131                                    $6,222.57 General Unsecured 19-12821
05/08/2019      189 Hufcor, Inc.                                   2101 Kennedy Rd. Janesville, WI 53545                UNLIQUIDATED       Secured           19-12821
05/08/2019      189 Hufcor, Inc.                                   2101 Kennedy Rd. Janesville, WI 53545                UNLIQUIDATED       Admin Priority    19-12821

05/08/2019      189 Hufcor, Inc.                                   2101 Kennedy Rd. Janesville, WI 53545                Created for Objection General Unsecured 19-12821
                                                                   Hurricane Resistant Construction 12105 Lymestone
03/26/2019       19 Hurricane Resistant Construction, Inc.         Way Cooper City, FL 33026                                      $5,272.94 General Unsecured 19-12821
                                                                   Hurricane Resistant Construction 12105 Lymestone
03/26/2019       20 Hurricane Resistant Construction, Inc.         Way Cooper City, FL 33026                                        $437.50 General Unsecured 19-12821



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                                                                          Case No. 19-12821 (AJC)
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             Claim                                                                                                                                               Debtor
Date Filed    No.                    Creditor Name                                        Address                          Claim Amount           Nature         Number
                                                                    Hurricane Resistant Construction 12105 Lymestone
03/26/2019       21 Hurricane Resistant Construction, Inc.          Way Cooper City, FL 33026                                       $735.00 General Unsecured 19-12821
                                                                    Hurricane Resistant Construction 12105 Lymestone
03/26/2019       22 Hurricane Resistant Construction, Inc.          Way Cooper City, FL 33026                                     $1,186.00 General Unsecured 19-12821
                                                                    Rinker Materials Five Concourse Pkwy, Ste 1900
04/16/2019      110 Hydro Conduit, LLC dba Rinker Materials         Atlanta, GA 30328-6111                                        $2,204.61 General Unsecured 19-12821
                                                                    c/o Jeremy Sahn Becker 1 East Broward Blvd., Floor
05/08/2019      199 HYVAC, Inc.                                     18 Fort Lauderdale, FL 33301                                 $51,986.18 General Unsecured 19-12821
                                                                    Saenz & Anderson PLLC 20900 NE 30th Ave., Ste.
04/29/2019      137 Idris Orta                                      800 Aventura, FL 33180                                      $100,000.00 General Unsecured 19-12821

                                                                    Timothy W. Brink c/o Meltzer, Purtill & Stelle 300
05/02/2019      152 Indian Harbor Insurance Company                 South Wacker Drive, Suite 2300 Chicago, IL 60606     UNLIQUIDATED       Secured           19-12821

                                                                    Timothy W. Brink c/o Meltzer, Purtill & Stelle 300
05/02/2019      152 Indian Harbor Insurance Company                 South Wacker Drive, Suite 2300 Chicago, IL 60606     UNLIQUIDATED       General Unsecured 19-12821

                                                                    Michael S. Nixon Nixon Jach Hubbard, PLLC 14241
03/26/2019       17 Integrated Roadway Services, Inc.               Dallas Parkway, Suite 575 Dallas, TX 75254                  $184,880.90 General Unsecured 19-12821
03/14/2019        2 Interstate Billing Service, Inc.                P.O. Box 2250 Decatur, AL 35609                               $1,372.53 General Unsecured 19-12821
                                                                    Helen H. Albee, Esq. Tritt & Assoc., P.A. 707
05/07/2019      183 Island Mechanical Contractors, Inc.             Peninsular Place Jacksonville, FL 32204                    $2,010,907.00 General Unsecured 19-12821
04/08/2019       83 JCA - CAD                                       414 Sorenstam Way Cibolo, TX 78108                            $13,271.15 General Unsecured 19-12821
                                                                    H. Clay Roberts, Esq 2665 South Bayshore Drive,
04/23/2019      128 Jenna Mendez                                    Suite 300 Coconut Grove, FL 33133                    UNLIQUIDATED       General Unsecured 19-12821
                                                                    c/o Weltman, Weinberg & Reis Co. LPA 323 W.
04/01/2019       46 John Deere Financial                            Lakeside Ave. Ste. 200 Cleveland, OH 44113                  $30,686.79 General Unsecured 19-12821
05/13/2019      253 John Westley                                    3432 Denmark Ave. #188 Saint Paul, MN 55123          EXPUNGED          General Unsecured 19-12821
                                                                    Dohan Law 2020 Ponce de Leon Blvd., Suite 1006
05/08/2019      207 Jorge Sariol                                    Coral Gables, FL 33134                               W/D                General Unsecured 19-12821
                                                                    Tesha Allison, Esq 5911 NW 173 Drive Suite 15
04/15/2019      101 Jose Perez                                      Miami, FL 33015                                             $372,528.89 General Unsecured 19-12821
                                                                    Tesha Allison, Esq 5911 NW 173 Drive Suite 15
04/16/2019      108 Jose Perez                                      Miami, FL 33015                                             $372,528.89 General Unsecured 19-12821
                                                                    Spencer M. Aronfeld, Esq. 3132 Ponce de Leon Blvd
04/25/2019      132 Katrina Collazo de Armas and Alexander Armas    Coral Gables, FL 33134                               UNLIQUIDATED       General Unsecured 19-12821
                                                                    Ross R. Hartog 101 NE Third Avenue, Suite 1210
05/09/2019      234 Kelly Tractor Company                           Fort Lauderdale, FL 33301                                    $66,380.38 General Unsecured 19-12821
                                                                    Ross R. Hartog 101 NE Third Avenue, Suite 1210
05/09/2019      234 Kelly Tractor Company                           Fort Lauderdale, FL 33301                                    $86,975.84 Admin Priority    19-12821

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             Claim                                                                                                                                                    Debtor
Date Filed    No.                     Creditor Name                                            Address                         Claim Amount          Nature          Number
04/01/2019        56 Knight Property Management Services, Inc.         5450 10th Ave North Greenacres, FL 33463                       $5,139.90 General Unsecured 19-12821
                                                                       Counsel for Bridge Collapse Bodily Injury Claimants
                     Kozyak Tropin & Throckmorton, LLP (Filed as       2525 Ponce de Leon Blvd., 9th Floor Miami, FL
12/20/2019       289 Docket No. 727)                                   33134                                                         $14,517.65 Secured               19-12821
04/30/2019       144 Kubota Credit Corporation                         PO Box 9013 Addison, TX 75001                                  $4,629.22 Secured               19-12821
                                                                       Gary M. Freedman, Esq. 2 South Biscayne Blvd.,
05/08/2019       221 Lehigh Cement Company LLC                         Suite 2100 Miami, FL 33131                            UNLIQUIDATED       General Unsecured 19-12821
04/17/2019       111 List Industries Inc.                              401 Jim Moran Blvd. Deerfield Beach, FL 33442                  $1,025.90 General Unsecured 19-12821
                                                                       Law Offices of Jason Turchin 2883 Executive Park
04/22/2019       124 Lucia Mollo                                       Drive, Suite 103 Weston, FL 33331                            $975,000.00 General Unsecured 19-12821
                                                                       Dan Logan, Esquire M. Daniel Logan, PLLC 360
                                                                       Columbia Drive, Suite 100 West Palm Beach, FL
05/13/2019       248 Madina Sod Corporation                            33409                                                        $245,065.60 General Unsecured 19-12821
03/25/2019         6 Manny & Lou Plumbing                              7105 SW 47 St #407 Miami, FL 33155                               $390.00 General Unsecured 19-12821
                                                                       R. Scott Shuker 111 North Magnolia Avenue, Suite
04/12/2019        95 Marquise Rashaad Hepburn                          1400 Orlando, FL 32801                                UNLIQUIDATED         General Unsecured 19-12821
                                                                       Andres Beregovich, Esq 210 N. Mills Ave Orlando, FL
05/02/2019       147   Martha M. Plaza Cevallos                        32801                                                 UNLIQUIDATED         General Unsecured   19-12821
07/01/2019       266   Martin County Tax Collector                     3485 SE Willoughby Blvd Stuart, FL 34994                      $15,720.02   Secured             19-12821
07/01/2019       267   Martin County Tax Collector                     3485 SE Willoughby Blvd Stuart, FL 34994                      $15,720.02   Secured             19-12821
07/08/2019       268   Martin County Tax Collector                     3485 SE Willoughby Blvd Stuart, FL 34994              EXPUNGED             Secured             19-12821
07/08/2019       269   Martin County Tax Collector                     3485 SE Willoughby Blvd Stuart, FL 34994              EXPUNGED             Secured             19-12821
                                                                       Margaret Fonshell Ward 11350 McCormick Road EP
04/16/2019       109 Matrax, Inc.                                      III, Suite 400 Hunt Valley, MD 21031                           $29,440.60 General Unsecured 19-12821
                                                                       Margaret Fonshell Ward 11350 McCormick Road, EP
05/06/2019       171 Matrax, Inc.                                      III, Suite 400 Hunt Valley, MD 21031                  EXPUNGED          General Unsecured 19-12821
05/08/2019       202 Maya Enterprises, Inc.                            8180 N.W. 29th St Doral, FL 33122                             $7,744.43 General Unsecured 19-12821
                                                                       Miami-Dade County Bankruptcy Unit 200 NW 2nd
09/04/2019       281 Miami-Dade County Tax Collector                   Avenue Miami, FL 33128                                UNLIQUIDATED         Secured             19-12821
                                                                       Thomas H. Leeder, Esq. c/o Hayley G. Harrison,
                                                                       Esquire Bast Amron LLP 1 SE 3rd Avenue, Suite
04/26/2019       133 Michael Sode                                      1400 Miami, FL 33131                                  UNLIQUIDATED         General Unsecured 19-12821
                                                                       Bankruptcy Section P.O. Box 22808 Jackson, MS
03/26/2019        23 Mississippi Department of Revenue                 39225-2808                                            EXPUNGED             Priority            19-12821
                                                                       Bankruptcy Section P.O. Box 22808 Jackson, MS
03/26/2019        23 Mississippi Department of Revenue                 39225-2808                                            EXPUNGED             General Unsecured 19-12821
                                                                       Bankruptcy Section P.O. Box 22808 Jackson, MS
04/15/2019       104 Mississippi Department of Revenue                 39225-2808                                            EXPUNGED             Priority            19-12821
                                                                       Bankruptcy Section P.O. Box 22808 Jackson, MS
04/15/2019       104 Mississippi Department of Revenue                 39225-2808                                            EXPUNGED             General Unsecured 19-12821

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             Claim                                                                                                                                                   Debtor
Date Filed    No.                      Creditor Name                                         Address                         Claim Amount             Nature         Number
                                                                      Bankruptcy Section P.O. Box 22808 Jackson, MS
05/13/2019      247 Mississippi Department of Revenue                 39225-2808                                           EXPUNGED            Priority            19-12821
                                                                      Bankruptcy Section P.O. Box 22808 Jackson, MS
05/13/2019      247 Mississippi Department of Revenue                 39225-2808                                           EXPUNGED            General Unsecured 19-12821
                                                                      Bankruptcy Section MS Department of Revenu PO
06/24/2019      265 Mississippi Department of Revenue                 Box 22808 Jackson, MS 39225-2808                             $46,252.78 Priority             19-12821
                                                                      Bankruptcy Section MS Department of Revenu PO
06/24/2019      265 Mississippi Department of Revenue                 Box 22808 Jackson, MS 39225-2808                              $4,308.28 General Unsecured 19-12821
04/10/2019       86 Mr. Glass Doors & Windows Inc.                    8120 NW 84th St. Medley, FL 33166                            $87,325.41 General Unsecured 19-12821
                                                                      Christopher W. Royer, Esq. 12 S.E.7th Street, Ste.
05/10/2019      238 Nathaniel Butler                                  801 Fort Lauderdale, FL 33301                             $2,000,000.00 General Unsecured 19-12821
                                                                      Michelle V. Larson Carrington Coleman Sloman &
                                                                      Blumenthal LLP 901 Main Street, Suite 5500 Dallas,
08/27/2019      277 North Texas Tollway Authority                     TX 75202                                             UNLIQUIDATED        Secured             19-12821
                                                                      Attn Jerri Arora 3900 Kennesaw 75 Parkway, Suite
03/25/2019       14   Nova Engineering and Environmental, LLC         100 Kennesaw, GA 30144                                       $5,250.00   General Unsecured   19-12821
03/26/2019       18   Oldcastle Infrastructure Inc                    c/o NCS 729 Miner Rd Highland Hts, OH 44143                 $37,304.18   General Unsecured   19-12821
03/29/2019       35   Oldcastle Infrastructure Inc                    c/o NCS 729 Miner Rd Highland Hts, OH 44143          EXPUNGED            General Unsecured   19-12821
04/15/2019      105   OSCS, Inc.                                      6100 Rough Road Cleburne, TX 76031                             $591.32   General Unsecured   19-12821
                                                                      Lauren L. Stricker, Esq. c/o Shutts & Bowen LLP
                                                                      4301 W. Boy Scout Blvd., Suite 300 Tampa, FL
05/08/2019      205 Osprey Apartments, LLC                            33607                                                EXPUNGED            Secured             19-12821
                                                                      Lauren L. Stricker, Esq. c/o Shutts & Bowen LLP
                                                                      4301 W. Boy Scout Blvd., Suite 300 Tampa, FL
05/08/2019      205 Osprey Apartments, LLC                            33607                                                EXPUNGED            General Unsecured 19-12821
                                                                      Lauren L. Stricker, Esq. c/o Shutts & Bowen LLP
                                                                      4301 W. Boy Scout Blvd., Suite 300 Tampa, FL
05/13/2019      245 Osprey Apartments, LLC                            33607                                                UNLIQUIDATED        Secured             19-12821
                                                                      Lauren L. Stricker, Esq. c/o Shutts & Bowen LLP
                                                                      4301 W. Boy Scout Blvd., Suite 300 Tampa, FL
05/13/2019      245 Osprey Apartments, LLC                            33607                                                UNLIQUIDATED        General Unsecured 19-12821
                                                                      c/o Credit & Collections Treasury Services 5500
04/02/2019       68 Otis Elevator Company                             Village Blvd West Palm Beach, FL 33407                        $1,773.40 General Unsecured 19-12821
                    Paradise Awnings Corporation dba Paradise
05/07/2019      174 Architectural Panels and Steel                    Manuel Alcibar 4310 NW 36th Ave. Miami, FL 33142            $721,710.27 General Unsecured 19-12821
                    Paradise Awnings Corporation dba Paradise
05/08/2019      190 Architectural Panels and Steel                    Manuel Alcibar 4310 NW 36th Ave. Miami, FL 33142 EXPUNGED                Secured             19-12821
                    Paradise Awnings Corporation dba Paradise
05/08/2019      193 Architectural Panels and Steel                    Manuel Alcibar 4310 NW 36th Ave. Miami, FL 33142 EXPUNGED                Secured             19-12821



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                                                                           Case No. 19-12821 (AJC)
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             Claim                                                                                                                                                         Debtor
Date Filed    No.                      Creditor Name                                             Address                         Claim Amount             Nature           Number
                    Patricia Beville, as Parent and Natural Guardian of Gonzalo Dorta, Esq. Dorta Law 334 Minorca Avenue
05/03/2019      156 Malachi Hanson                                      Coral Gables, FL 33134                                      $10,000,000.00 General Unsecured 19-12821
                                                                        Arturo Armand, Esq. 10691 N Kendall Drive, Suite
04/12/2019       97 Pedro Adilio Cortes                                 211 Miami , FL 33176                                   UNLIQUIDATED       General Unsecured 19-12821
04/10/2019       87 Penhall Company                                     7501 Esters Blvd., Ste. 150 Irving, TX 75063                  $444,596.53 General Unsecured 19-12821
                    Plaintiff, Kimberly Babbitt, as Parent, Natural     Clayton Hanson, Brice Hanson, and Bailey Hanson
                    Guardian, and Guardian of the Property of Minor Gary D. Fox, Esq. One SE Third Avenue, Suite 3000
04/29/2019      142 Children,                                           Miami, FL 33131                                        UNLIQUIDATED       General Unsecured 19-12821
04/01/2019       41 Pro Sound, Inc.                                     1375 NE 123 Street Miami, FL 33161                             $16,992.94 General Unsecured 19-12821
                                                                        4152 W. Blue Heron Blvd. Ste #1114 Riviera Beach,
05/10/2019      242 Radise International, LC                            FL 33404                                                        $21,540.50 General Unsecured 19-12821
                                                                        Walker Beauchamp 4500 5th Avenue South, Bldg. A
04/03/2019       70 Ram Tool & Supply Co., Inc.                         Birmingham, AL 35222                                            $12,135.75 General Unsecured 19-12821
                                                                        Hali E. Marsocci, Esq. P.O. Box 21349 West Palm
04/29/2019      138 Ramoy Goulbourne                                    Beach, FL 33416                                        UNLIQUIDATED          General Unsecured 19-12821
                    Randy Hanson and Terry Hanson as Co-Plenary Carlos Silva, Esq. Silva & Silva, P.A. 236 Valencia
05/02/2019      150 Guardian of Kevin Lee Hanson                        Ave Coral Gables, FL 33134                                 $100,000,000.00   General Unsecured   19-12821
04/19/2019      117 Raptor Mining Products                              8150 NW 71st Miami, FL 33166                                     $1,600.00   General Unsecured   19-12821
04/29/2019      135 RC Group, LLC                                       7500 NW 25th Street Suite 292 Miami, FL 33122                    $3,000.00   General Unsecured   19-12821
03/29/2019       65 RDO Equipment Co.                                   Attn C Edenborg PO Box 7160 Fargo, ND 58106                     $21,883.53   General Unsecured   19-12821
04/08/2019       82 Redi-Mix Concrete                                   331 N Main St Euless, TX 76039                                  $42,032.00   General Unsecured   19-12821
04/05/2019       73 Remior Industries, Inc.                             9165 N.W. 96th Street Medley, FL 33178                          $38,427.50   General Unsecured   19-12821
                                                                        Stuart Z. Grossman, Esq. Grossman Roth Yaffa
                                                                        Cohen, P.A. 2525 Ponce de Leon Boulevard, Suite
05/03/2019      154 Richard Luis Humble                                 1150 Coral Gables, FL 33134                            UNLIQUIDATED          General Unsecured   19-12821
04/29/2019      136 Ring Power Corporation                              10421 Fern Hill Drive Riverview, FL 33578                      $31,679.01    General Unsecured   19-12821
04/08/2019       78 Road Runner Striping Technologies, Inc.             9804 NW 80th Ave Hialeah Gardens, FL 33016                     $16,652.74    General Unsecured   19-12821
04/01/2019       45 Rock Power Paving, Inc.                             13831 SW 59 Street Suite 204 Miami, FL 33183                  $107,500.65    General Unsecured   19-12821
                                                                        Scott Griffith Griffith Davison, PC 13737 Noel Road,
05/13/2019      251 RPM xConstruction, LLC                              Suite 850 Dallas, TX 75240                                    $154,803.02 General Unsecured 19-12821
                                                                        Scott Griffith Griffith Davison, PC 13737 Noel Road,
05/15/2019      255 RPM xConstruction, LLC                              Suite 850 Dallas, TX 75240                             EXPUNGED          General Unsecured 19-12821
03/29/2019       34 Rural Electric Inc                                  9502 E Main St Mesa, AZ 85207                                $179,288.73 General Unsecured 19-12821
                                                                        Matthew Shiebler, CPA 8180 NW 36th St. #301
04/08/2019       76 Safety Systems Barricades Corp.                     Doral, FL 33166                                                 $15,725.00 General Unsecured 19-12821
                                                                        Scott Ballenger Schnabel Foundation Co. 1654 Lower
03/29/2019       31 Schnabel Foundation Company                         Roswell Road Marietta, GA 30068                                 $34,294.00   General Unsecured   19-12821
04/01/2019       49 Scott Derr Painting Co, LLC                         Scott Derr P.O. Box 1848 Friendswood, TX 77549                   $6,560.37   General Unsecured   19-12821
05/06/2019      160 Selerix Systems, Inc.                               2851 Craig Dr Ste 300 McKinney, TX 75072                         $1,213.50   General Unsecured   19-12821
04/15/2019      100 Setanta Machinery of Florida Inc.                   PO Box 69096 Orlando, FL 32869                                   $1,671.05   General Unsecured   19-12821

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                                                                          Case No. 19-12821 (AJC)
                                                              Claims Register as of January 8, 2020 (Alpha Sort)


             Claim                                                                                                                                                   Debtor
Date Filed    No.                       Creditor Name                                      Address                          Claim Amount            Nature           Number
                                                                    c/o Sherry Parks 9370 SW 72nd Street Miami, FL
05/08/2019      223 Shanika Passmore                                33173                                                        $175,000.00 General Unsecured 19-12821
04/04/2019       72 Shrimp Farm Housing LLC                         PO Box 4170 Key West, FL 33041-4170                          $100,000.00 General Unsecured 19-12821
                                                                    Law Offices of Jason Turchin 2883 Executive Park
04/22/2019      126 Sidney Casis                                    Drive, Suite 103 Weston, FL 33331                            $750,000.00 General Unsecured 19-12821
                                                                    c/o Brenda Schulz, Controller 300 Technology Center
04/08/2019       80 Skyline Steel, LLC                              Way, Suite 450 Rock Hill, SC 29730                           $829,593.50 General Unsecured 19-12821
                                                                    Rappaport Osborne & Rappaport, PLLC 1300 N.
04/22/2019      125 Sorrel Development                              Federal Hwy, Suite 203 Boca Raton, FL 33432                   $89,897.00 General Unsecured 19-12821
                                                                    The Belony Law Group, PLLC 14 N.E. 1st Ave., Suite
03/29/2019       33 Southern National Track Services                502 Miami, FL 33132                                          $536,829.32 General Unsecured 19-12821
                                                                    The Belony Law Group, PLLC 14 N.E. 1st Ave., Suite
03/27/2019       40 Southern National Track Services                502 Miami, FL 33132                                   EXPUNGED          General Unsecured 19-12821
03/28/2019       28 Southern Tire Mart, LLC                         800 Highway 98 Columbia, MS 39429                               $564.48 General Unsecured 19-12821
07/09/2019      270 St Lucie County Tax Collector                   PO Box 308 Fort Pierce, FL 34954                      UNLIQUIDATED      Secured           19-12821
                                                                    Attn Adrienne Chavis 7 Technology Circle Columbia,
04/01/2019       39 Staples                                         SC 29203                                                       $7,703.45 General Unsecured 19-12821
03/22/2019        3 Star Quality, Inc.                              4006 West Crest Avenue Tampa, FL 33614                         $4,679.50 General Unsecured 19-12821
05/07/2019      176 Striping Technology, L.P.                       10112 County Road 489 Tyler, TX 75706                         $10,143.66 General Unsecured 19-12821
                                                                    Richard Hill 10150 Old Columbia Road Columbia, MD
05/06/2019      165 Structural Technologies, LLC                    21046                                                 UNLIQUIDATED         General Unsecured 19-12821
                                                                    Francisco De Caso y Basalo 1251 Memorial Drive,
04/17/2019      112 Structures and Materials Laboratory             #308 Coral Gables, FL 33146                                    $1,050.00 General Unsecured 19-12821
03/25/2019        8 Stuart Hose & Pipe Co                           701 Riverside Drive Fort Worth, TX 76111                         $663.71 General Unsecured 19-12821
08/15/2019      274 Sunbelt Rentals Inc                             2015 Directors Row Orlando, FL 32809                          $20,267.99 General Unsecured 19-12821
                                                                    PC882-Region 5 Credit Dept. 2015 Directors Row
09/13/2019      283   Sunbelt Rentals Inc                           Orlando, FL 32809                                             $21,938.06   General Unsecured   19-12821
03/22/2019        4   Suncor, Inc.                                  612 Stokely Drive De Forest, WI 53532                          $9,506.65   General Unsecured   19-12821
04/22/2019      120   Sunshine Heavy Hauling, Inc.                  4251 NW 133rd Street Opa-Locka, FL 33054                      $10,000.00   General Unsecured   19-12821
05/10/2019      240   Superior Electrical Contractors, Inc.         2151 NW 93rd Ave Doral , FL 33172                             $91,845.42   General Unsecured   19-12821
                                                                    Fernando Menendez, Esq. 1001 Brickell Bay Dr. 9th
05/08/2019      224 T.Y. Lin International                          Floor Miami, FL 33131                                       $1,665,071.18 General Unsecured 19-12821
                                                                    c/o Erik Alverez 9370 SW 72nd Street Miami, FL
05/08/2019      225 Tania Vivian Espinosa Vera                      33173                                                        $975,000.00 General Unsecured 19-12821
                                                                    Lauren L. Stricker, Esq. c/o Shutts & Bowen LLP
                                                                    4301 W. Boy Scout Blvd., Suite 300 Tampa, FL
05/08/2019      204 Tequesta Knoll, LLC                             33607                                                 EXPUNGED             General Unsecured 19-12821
                                                                    Lauren L. Stricker, Esq. c/o Shutts & Bowen LLP
                                                                    4301 W. Boy Scout Blvd., Suite 300 Tampa, FL
05/13/2019      244 Tequesta Knoll, LLC                             33607                                                 UNLIQUIDATED         General Unsecured 19-12821

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                                                                            Case No. 19-12821 (AJC)
                                                                Claims Register as of January 8, 2020 (Alpha Sort)


             Claim                                                                                                                                                   Debtor
Date Filed    No.                    Creditor Name                                            Address                         Claim Amount             Nature        Number
                                                                       Michael S. Davis, Esquire 2311 N. Andrews Ave. Ft.
04/18/2019      114 Terry Davis                                        Lauderdale, FL 33311                                         $150,000.00 General Unsecured 19-12821
                                                                       Office of the Attorney General Bankruptcy &
                                                                       Collections Division PO Box 12548, MC-008 Austin,
06/04/2019      264 Texas Comptroller of Public Accounts               TX 78711                                             W/D                 Priority          19-12821
                                                                       145 Madeira Ave, Suite #310 Coral Gables, FL
04/01/2019       52 The Bec Group Services, Inc                        33134                                                        $227,853.00 General Unsecured 19-12821
                                                                       145 Madeira Avenue, Suite 310 Coral Gables, FL
03/29/2019       66 The BEC Group Services, Inc.                       33134                                                EXPUNGED            General Unsecured 19-12821
                    The BRT Group Inc dba Florida Hydroseed            Florida Hydroseed & Erosion Control 3136 SE St
03/25/2019        9 Erosion                                            Lucie Blvd Stuart, FL 34997                                    $6,669.70 General Unsecured 19-12821
                    The Florida International University Board of      Monica D. Hayes, Esq. 199 E. Flagler St., #405
05/08/2019      186 Trustees                                           Miami, FL 33131                                            $15,256,503.86 General Unsecured 19-12821
                    The Insurance Company of the State of
                    Pennsylvania on Behalf of the Entities Listed on   Attn Kevin J Larner AIG Property Casualty, Inc. 80
04/11/2019       91 Exhibit A                                          Pine Street, 13th Floor New York, NY 10005           UNLIQUIDATED        General Unsecured 19-12821
                                                                       Kyle Pierce Counce P.O. Box 12548 Austin, TX
08/21/2019      276 The State of Texas                                 78711                                                        $141,065.49 General Unsecured 19-12821
                    Travelers Casualty and Surety Company of           Attn Michael Collins Manier & Herod, P.C. 1201
05/08/2019      219 America                                            Demonbreun St., Suite 900 Nashville, TN 37219              $25,955,920.58 Secured          19-12821

                    Travelers Casualty and Surety Company of           Attn Michael Collins Manier & Herod, P.C. 1201
05/08/2019      222 America (as assignee of Bank of America, N.A.)     Demonbreun St., Suite 900 Nashville, TN 37219            $6,295,744.45   Secured           19-12821
                                                                       Karen B. Parkr, Esq. 2550 SO. Bayshore Drive, Suite
05/06/2019      161 Tropical Touch Gardens Center                      102 Coconut Grove, FL 33133                                $161,470.17   General Unsecured 19-12821
                                                                       Attn Accounts Recievable 68 Jonspin Road
04/18/2019      123 Unifirst Corporation                               Wilmington, MA 01887                                         $3,913.69   General Unsecured 19-12821
05/17/2019      259 UniFirst Corporation                               8070 NW 77th Court Medley, FL 33166                          $4,658.32   General Unsecured 19-12821
                                                                       c/o Lawrence J. Kotler, Esq. Duane Morris LLP 30
05/08/2019      196 United Homecare Services, Inc.                     South 17th Street Philadelphia, PA 19103-4196            $4,055,243.67   General Unsecured 19-12821
                                                                       c/o Fullerton & Knowles, P.C. United Rentals 12642
05/08/2019      212 United Rentals (North America), Inc.               Chapel Rd Clifton, VA 20124                                $293,434.63   General Unsecured 19-12821
                                                                       118 Flanders Road, Suite 1000 Westborough, MA
05/20/2019      260 United Site Services of Florida LLC                01581                                                       $22,975.34   General Unsecured 19-12821
                                                                       Bryan C. Whitaker 8899 E. 56th Street Indianapolis,
08/29/2019      280 United States Department of Defense                IN 46249                                                 $9,200,874.00   General Unsecured 19-12821
03/25/2019        7 Universal Fence Company Inc.                       1137 W Hurst Blvd Hurst, TX 76053                   UNLIQUIDATED         General Unsecured 19-12821
                                                                       Michelle G. Hendler, Esq. 200 South Biscayne
05/09/2019      230 Unlimited Turf, LLC                                Boulevard, Suite 4100 Miami, FL 33131                    $2,933,217.93   General Unsecured 19-12821



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                                                 Case 19-12821-AJC           Doc 751        Filed 01/08/20        Page 14 of 28
                                                                 In re Magnum Construction Management, LLC
                                                                           Case No. 19-12821 (AJC)
                                                               Claims Register as of January 8, 2020 (Alpha Sort)


             Claim                                                                                                                                                    Debtor
Date Filed    No.                    Creditor Name                                           Address                          Claim Amount           Nature           Number

                    USA Erosion (Referenced in Debtors Schedule       c/o Leland de la Garza Hallett & Perrin, P.C. 1445
05/17/2019      258 E/F as Unsecured Creditor 3. 1084 (Dkt 5 at 221)) Ross Ave., Suite 2400 Dallas, TX 75202                        $57,256.99 General Unsecured 19-12821

05/06/2019      167 USA SWPPP Inspections, Inc dba USA Erosion        237 Blackland Rd Royse City, TX 75189                         $57,256.99 General Unsecured 19-12821
                                                                      Dan Logan, Esquire 360 Columbia Drive, Suite 100
05/13/2019      250 Van Linda Iron Works, Inc                         West Palm Beach, FL 33409                                    $182,278.87 General Unsecured 19-12821
                    Velta Young, as P. Representative of Bobie        Law Office of Efrain Cortes PO Box 590173 Ft
04/01/2019       42 Young                                             Lauderdale, FL 33359                                       $1,000,000.00 General Unsecured 19-12821
                    Velta Young, as Personal Representative of the    Law Offices of Efrain Cortes, LLC PO Box 590173 Ft.
03/29/2019       38 Estate of Bobie Young (Deceased)                  Lauderdale, FL 33359                                  EXPUNGED            General Unsecured   19-12821
04/01/2019       53 Visualscape, Inc.                                 17801 NW 137th Ave Miami, FL 33018                           $16,980.10   General Unsecured   19-12821
04/01/2019       54 Visualscape, Inc.                                 17801 NW 137th Ave Miami, FL 33018                    EXPUNGED            General Unsecured   19-12821
04/01/2019       55 Visualscape, Inc.                                 17801 NW 137th Ave Miami, FL 33018                    EXPUNGED            General Unsecured   19-12821
                    Walda Ortiz, as Marital Spouse of Pedro Adilio    Arturo Armand, Esq 10691 N Kendall Drive, Suite
05/08/2019      187 Cortes                                            211 Miami, FL 33176                                   UNLIQUIDATED        General Unsecured 19-12821
                                                                      c/o Jacquolyn Mills Waste Management 1001 Fannin
05/08/2019      192 Waste Management Inc. of Florida                  Street Houston, TX 77002                                      $28,822.74 General Unsecured 19-12821
                    William & Phyllis Grossman as Co Trusteees of     NAI Miami 9655 S. Dixie Hwy Ste 300 Miami, FL
04/09/2019       93 the 7990 Land Trust                               33156                                                         $25,698.45 General Unsecured 19-12821
                    Winsome Joy Campbell, Individually and as P. R    Hali E. Marsocci, Esq. P.O. Box 21349 West Palm
04/29/2019      139 of the Estate of Navaro Brown, Deceased           Beach, FL 33416                                       UNLIQUIDATED        General Unsecured 19-12821
                                                                      Timothy W. Brink c/o Meltzer, Purtill & Stelle 300
                                                                      South Wacker Drive, Suite 2300 Chicago, IL 60606-
05/02/2019      151 XL Insurance America, Inc.                        6704                                                  UNLIQUIDATED        Secured             19-12821
                                                                      Timothy W. Brink c/o Meltzer, Purtill & Stelle 300
                                                                      South Wacker Drive, Suite 2300 Chicago, IL 60606-
05/02/2019      151 XL Insurance America, Inc.                        6704                                                  UNLIQUIDATED        General Unsecured 19-12821

                                                                      Timothy W. Brink c/o Meltzer, Purtill & Stelle 300
05/02/2019      148 XL Specialty Insurance Company                    South Wacker Drive, Suite 2300 Chicago, IL 60606      UNLIQUIDATED        Secured             19-12821

                                                                      Timothy W. Brink c/o Meltzer, Purtill & Stelle 300
05/02/2019      148 XL Specialty Insurance Company                    South Wacker Drive, Suite 2300 Chicago, IL 60606 UNLIQUIDATED             General Unsecured 19-12821
                    Z.A. a minor, by and through her parents and      Spencer M. Aronfeld, Esq. 3132 Ponce de Leon Blvd
05/08/2019      203 natural guardians                                 Coral Gables, FL 33134                             UNLIQUIDATED           General Unsecured 19-12821
                                                                      Matt J. Farley 400 Poydras Street, Suite 2500 New
05/06/2019      168 Zurich American Insurance Company                 Orleans, LA 70130                                        $2,000,000.00    Secured             19-12821
                                                                      Matt J. Farley 400 Poydras Street, Suite 2500 New
05/06/2019      168 Zurich American Insurance Company                 Orleans, LA 70130                                       $22,043,095.92    General Unsecured 19-12821

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                                               Case 19-12821-AJC           Doc 751      Filed 01/08/20       Page 15 of 28
                                                                In re Magnum Construction Management, LLC
                                                                          Case No. 19-12821 (AJC)
                                                             Claims Register as of January 8, 2020 (Numeric Sort)


             Claim
Date Filed    No.                   Creditor Name                                        Address                      Claim Amount               Nature       Debtor Number
                                                                  Attn Bankruptcy Section c/o Broward County
                                                                  Records, Taxes & Treasury 115 S. Andrews Ave. #A-
03/11/2019           1
                    Broward County                                100 Ft. Lauderdale, FL 33301                               $17,251.70   Secured             19-12821
03/14/2019           2
                    Interstate Billing Service, Inc.              P.O. Box 2250 Decatur, AL 35609                             $1,372.53   General Unsecured   19-12821
03/22/2019           3
                    Star Quality, Inc.                            4006 West Crest Avenue Tampa, FL 33614                      $4,679.50   General Unsecured   19-12821
03/22/2019           4
                    Suncor, Inc.                                  612 Stokely Drive De Forest, WI 53532                       $9,506.65   General Unsecured   19-12821
03/25/2019           5
                    Holt Texas, Ltd. dba Holt CAT                 2000 E Airport Freeway Irving, TX 75062                   $146,159.42   General Unsecured   19-12821
03/25/2019           6
                    Manny & Lou Plumbing                          7105 SW 47 St #407 Miami, FL 33155                            $390.00   General Unsecured   19-12821
03/25/2019           7
                    Universal Fence Company Inc.                  1137 W Hurst Blvd Hurst, TX 76053                 UNLIQUIDATED          General Unsecured   19-12821
03/25/2019           8
                    Stuart Hose & Pipe Co                         701 Riverside Drive Fort Worth, TX 76111                      $663.71   General Unsecured   19-12821
                    The BRT Group Inc dba Florida Hydroseed       Florida Hydroseed & Erosion Control 3136 SE St
03/25/2019        9 Erosion                                       Lucie Blvd Stuart, FL 34997                                 $6,669.70   General Unsecured 19-12821
03/25/2019       10 Best Rolling Doors, Inc.                      9780 NW 79th Ave Hialeah Gardens, FL 33016                  $2,397.96   General Unsecured 19-12821
03/25/2019       11 Advanced Systems Inc.                         1415 South 30th Ave Hollywood, FL 33020                     $5,145.99   General Unsecured 19-12821
                                                                  Becket and Lee LLP PO Box 3001 Malvern, PA
03/25/2019       12 American Express National Bank                19355-0701                                                    $744.97   General Unsecured 19-12821
                    American Express Travel Related Services      Becket and Lee LLP PO Box 3001 Malvern, PA
03/25/2019       13 Company, Inc.                                 19355-0701                                              $3,941,504.09   General Unsecured 19-12821
                                                                  Attn Jerri Arora 3900 Kennesaw 75 Parkway, Suite
03/25/2019       14 Nova Engineering and Environmental, LLC       100 Kennesaw, GA 30144                                      $5,250.00   General Unsecured 19-12821
03/25/2019       15 Ebsary Foundation Company                     2154 N.W. North River Dr. Miami, FL 33125                   $4,132.00   General Unsecured 19-12821
                                                                  200 South 10th Street, Suite 900 Richmond, VA
03/26/2019       16 Cherry Bekaert LLP                            23219                                                      $51,647.62   General Unsecured 19-12821

                                                                  Michael S. Nixon Nixon Jach Hubbard, PLLC 14241
03/26/2019       17 Integrated Roadway Services, Inc.             Dallas Parkway, Suite 575 Dallas, TX 75254               $184,880.90 General Unsecured 19-12821
03/26/2019       18 Oldcastle Infrastructure Inc                  c/o NCS 729 Miner Rd Highland Hts, OH 44143               $37,304.18 General Unsecured 19-12821
                                                                  Hurricane Resistant Construction 12105 Lymestone
03/26/2019       19 Hurricane Resistant Construction, Inc.        Way Cooper City, FL 33026                                  $5,272.94 General Unsecured 19-12821
                                                                  Hurricane Resistant Construction 12105 Lymestone
03/26/2019       20 Hurricane Resistant Construction, Inc.        Way Cooper City, FL 33026                                     $437.50 General Unsecured 19-12821
                                                                  Hurricane Resistant Construction 12105 Lymestone
03/26/2019       21 Hurricane Resistant Construction, Inc.        Way Cooper City, FL 33026                                     $735.00 General Unsecured 19-12821
                                                                  Hurricane Resistant Construction 12105 Lymestone
03/26/2019       22 Hurricane Resistant Construction, Inc.        Way Cooper City, FL 33026                                  $1,186.00 General Unsecured 19-12821
                                                                  Bankruptcy Section P.O. Box 22808 Jackson, MS
03/26/2019       23 Mississippi Department of Revenue             39225-2808                                         EXPUNGED             Priority            19-12821
                                                                  Bankruptcy Section P.O. Box 22808 Jackson, MS
03/26/2019       23 Mississippi Department of Revenue             39225-2808                                         EXPUNGED             General Unsecured 19-12821



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                                              Case 19-12821-AJC              Doc 751       Filed 01/08/20         Page 16 of 28
                                                                In re Magnum Construction Management, LLC
                                                                          Case No. 19-12821 (AJC)
                                                             Claims Register as of January 8, 2020 (Numeric Sort)


             Claim
Date Filed    No.                    Creditor Name                                           Address                          Claim Amount            Nature         Debtor Number
                    A.C. Schultes of Florida dba Jaffer Well Drilling,
03/27/2019       24 Inc.                                               1451 SE 9th Court Hialeah, FL 33010                           $2,250.00 General Unsecured 19-12821
                                                                       2701 Vista Pkwy Unit A8 West Palm Beach, FL
03/27/2019       25 Allied Trucking of PBLC                            33411                                                        $1,279.72 General Unsecured 19-12821
03/27/2019       26 G&C Cartage Co., Inc.                              6801 W 12th Street Jacksonville, FL 32254            EXPUNGED          General Unsecured 19-12821
                                                                       Heidi Yanque 1800 NE Broadway Ave Des Moines,
03/28/2019       27 EFCO Corp.                                         IA 50313                                                     $29,843.13 General Unsecured 19-12821
03/28/2019       28 Southern Tire Mart, LLC                            800 Highway 98 Columbia, MS 39429                               $564.48 General Unsecured 19-12821
                                                                       Ryan McKay 323 W Main Street PO Box 421
03/28/2019       29 Edwards Electric Service, LLC                      Philadelphia, MS 39350                                      $115,341.77 General Unsecured 19-12821
03/28/2019       30 Emergency Ice LLC                                  260 West 27 Street Hialeah, FL 33010                          $1,324.46 General Unsecured 19-12821
                                                                       Scott Ballenger Schnabel Foundation Co. 1654 Lower
03/29/2019       31 Schnabel Foundation Company                        Roswell Road Marietta, GA 30068                              $34,294.00 General Unsecured 19-12821
03/29/2019       32 Acrow Corporation of America                       181 New Road, Ste 202 Parsippany, NJ 07054                    $7,040.52 General Unsecured 19-12821
                                                                       The Belony Law Group, PLLC 14 N.E. 1st Ave., Suite
03/29/2019       33 Southern National Track Services                   502 Miami, FL 33132                                        $536,829.32    General Unsecured   19-12821
03/29/2019       34 Rural Electric Inc                                 9502 E Main St Mesa, AZ 85207                              $179,288.73    General Unsecured   19-12821
03/29/2019       35 Oldcastle Infrastructure Inc                       c/o NCS 729 Miner Rd Highland Hts, OH 44143          EXPUNGED             General Unsecured   19-12821
03/29/2019       36 Airgas USA, LLC                                    110 West 7th St. Suite 1400 Tulsa, OK 74119                 $32,194.81    General Unsecured   19-12821
                                                                       Elizabeth Weller Linebarger Goggan Blair &
                                                                       Sampson, LLP 2777 N. Stemmons Freeway, Suite
03/29/2019       37 Dallas County                                      100 Dallas, TX 75207                                 W/D                  Secured             19-12821
                    Velta Young, as Personal Representative of the Law Offices of Efrain Cortes, LLC PO Box 590173 Ft.
03/29/2019       38 Estate of Bobie Young (Deceased)                   Lauderdale, FL 33359                                 EXPUNGED             General Unsecured 19-12821
                                                                       Attn Adrienne Chavis 7 Technology Circle Columbia,
04/01/2019       39 Staples                                            SC 29203                                                      $7,703.45 General Unsecured 19-12821
                                                                       The Belony Law Group, PLLC 14 N.E. 1st Ave., Suite
03/27/2019       40 Southern National Track Services                   502 Miami, FL 33132                                  EXPUNGED          General Unsecured 19-12821
04/01/2019       41 Pro Sound, Inc.                                    1375 NE 123 Street Miami, FL 33161                          $16,992.94 General Unsecured 19-12821
                    Velta Young, as P. Representative of Bobie         Law Office of Efrain Cortes PO Box 590173 Ft
04/01/2019       42 Young                                              Lauderdale, FL 33359                                       $1,000,000.00 General Unsecured 19-12821
04/01/2019       43 Aquatic Landscaping Design, Inc.                   25405 SW 107 Ave Homestead, FL 33032                          $24,211.00 General Unsecured 19-12821
                    ALTA Home Remodeling Co. dba ALTA Quality Moises Montanez 15358 SW 62nd Street Miami, FL
04/01/2019       44 Builders                                           33193                                                        $24,666.62 General Unsecured 19-12821
04/01/2019       45 Rock Power Paving, Inc.                            13831 SW 59 Street Suite 204 Miami, FL 33183                $107,500.65 General Unsecured 19-12821
                                                                       c/o Weltman, Weinberg & Reis Co. LPA 323 W.
04/01/2019       46 John Deere Financial                               Lakeside Ave. Ste. 200 Cleveland, OH 44113                   $30,686.79   General Unsecured   19-12821
04/01/2019       47 Component Sales and Service Inc.                   P.O. Box 11009 Houston, TX 77293                              $1,336.01   General Unsecured   19-12821
04/01/2019       48 Chucks Backhoe Service, Inc.                       2301 NW 15 Ct Pompano Beach, FL 33069                         $1,569.02   General Unsecured   19-12821
04/01/2019       49 Scott Derr Painting Co, LLC                        Scott Derr P.O. Box 1848 Friendswood, TX 77549                $6,560.37   General Unsecured   19-12821

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                                                 Case 19-12821-AJC           Doc 751      Filed 01/08/20        Page 17 of 28
                                                                  In re Magnum Construction Management, LLC
                                                                            Case No. 19-12821 (AJC)
                                                               Claims Register as of January 8, 2020 (Numeric Sort)


             Claim
Date Filed    No.                    Creditor Name                                         Address                    Claim Amount          Nature        Debtor Number
04/01/2019        50 Energy Freight Systems                         2070 NW 79th Avenue Doral, FL 33122                     $40,017.00 General Unsecured 19-12821
04/01/2019        51 American Lifting Products                      1828-1832 NW 82nd Ave Doral, FL 33126                      $452.01 General Unsecured 19-12821
                                                                    145 Madeira Ave, Suite #310 Coral Gables, FL
04/01/2019        52   The Bec Group Services, Inc                  33134                                                  $227,853.00 General Unsecured 19-12821
04/01/2019        53   Visualscape, Inc.                            17801 NW 137th Ave Miami, FL 33018                      $16,980.10 General Unsecured 19-12821
04/01/2019        54   Visualscape, Inc.                            17801 NW 137th Ave Miami, FL 33018              EXPUNGED           General Unsecured 19-12821
04/01/2019        55   Visualscape, Inc.                            17801 NW 137th Ave Miami, FL 33018              EXPUNGED           General Unsecured 19-12821
04/01/2019        56   Knight Property Management Services, Inc.    5450 10th Ave North Greenacres, FL 33463                 $5,139.90 General Unsecured 19-12821
04/01/2019        57   City of Allen, TX Utilities Dept.            305 Century Pkwy Allen, TX 75013                         $1,957.85 General Unsecured 19-12821
04/01/2019        58   City of Allen, TX Utilities Dept.            305 Century Pkwy Allen, TX 75013                         $1,209.09 General Unsecured 19-12821
04/01/2019        59   City of Allen, TX Utilities Dept.            305 Century Pkwy Allen, TX 75013                         $1,944.13 General Unsecured 19-12821
04/01/2019        60   City of Allen, TX Utilities Dept.            305 Century Pkwy Allen, TX 75013                         $1,010.64 General Unsecured 19-12821
04/01/2019        61   City of Allen, TX Utilities Dept.            305 Century Pkwy Allen, TX 75013                         $6,478.03 General Unsecured 19-12821
04/01/2019        62   City of Allen, TX Utilities Dept.            305 Century Pkwy Allen, TX 75013                         $4,066.57 General Unsecured 19-12821
04/01/2019        63   City of Allen, TX Utilities Dept.            305 Century Pkwy Allen, TX 75013                         $1,003.69 General Unsecured 19-12821
04/01/2019        64   City of Allen, TX Utilities Dept.            305 Century Pkwy Allen, TX 75013                         $1,003.69 General Unsecured 19-12821
03/29/2019        65   RDO Equipment Co.                            Attn C Edenborg PO Box 7160 Fargo, ND 58106             $21,883.53 General Unsecured 19-12821
                                                                    145 Madeira Avenue, Suite 310 Coral Gables, FL
03/29/2019        66 The BEC Group Services, Inc.                   33134                                           EXPUNGED           General Unsecured 19-12821
04/02/2019        67 Airgas USA, LLC                                110 West 7th St. Suite 1400 Tulsa, OK 74119              $1,620.68 General Unsecured 19-12821
                                                                    c/o Credit & Collections Treasury Services 5500
04/02/2019        68 Otis Elevator Company                          Village Blvd West Palm Beach, FL 33407                   $1,773.40 General Unsecured 19-12821
04/02/2019        69 Airgas USA, LLC                                110 West 7th St. Suite 1400 Tulsa, OK 74119                 $13.06 General Unsecured 19-12821
                                                                    Walker Beauchamp 4500 5th Avenue South, Bldg. A
04/03/2019        70 Ram Tool & Supply Co., Inc.                    Birmingham, AL 35222                                    $12,135.75 General Unsecured 19-12821
                                                                    Santiago A Suarez 9780 NW 79th Avenue Hialeah
04/04/2019        71   Best Doors II                                Gardens, FL 33016                                          $195.00 General Unsecured 19-12821
04/04/2019        72   Shrimp Farm Housing LLC                      PO Box 4170 Key West, FL 33041-4170                    $100,000.00 General Unsecured 19-12821
04/05/2019        73   Remior Industries, Inc.                      9165 N.W. 96th Street Medley, FL 33178                  $38,427.50 General Unsecured 19-12821
04/04/2019        74   Eventbrite                                   155 5th St. San Francisco, CA 94103                          $0.00 General Unsecured 19-12821

04/08/2019        75 Elite Erosion Supply LLC                       4016-6 River Oaks Dr. #135 Myrtle Beach, SC 29579           $2,836.18 General Unsecured 19-12821
                                                                    Matthew Shiebler, CPA 8180 NW 36th St. #301
04/08/2019        76 Safety Systems Barricades Corp.                Doral, FL 33166                                         $15,725.00 General Unsecured 19-12821
04/08/2019        77 Carrier Corporation                            PO Box 4808 Syracuse, NY 13221                           $5,927.30 General Unsecured 19-12821
04/08/2019        78 Road Runner Striping Technologies, Inc.        9804 NW 80th Ave Hialeah Gardens, FL 33016              $16,652.74 General Unsecured 19-12821
                                                                    Transpo Industries, Inc 20 Jones Street New
04/08/2019        79 Castek, Inc                                    Rochelle, NY 10801                                          $1,589.87 General Unsecured 19-12821
                                                                    c/o Brenda Schulz, Controller 300 Technology Center
04/08/2019        80 Skyline Steel, LLC                             Way, Suite 450 Rock Hill, SC 29730                     $829,593.50 General Unsecured 19-12821

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                                              Case 19-12821-AJC              Doc 751       Filed 01/08/20        Page 18 of 28
                                                                In re Magnum Construction Management, LLC
                                                                          Case No. 19-12821 (AJC)
                                                             Claims Register as of January 8, 2020 (Numeric Sort)


             Claim
Date Filed    No.                   Creditor Name                                         Address                           Claim Amount               Nature       Debtor Number
                                                                    Jerome Pivnik The Pivnik Law Firm 7700 N. Kendall
04/08/2019       81   Eloy Arriera                                  Dr., Ste. 703 Miami, FL 33156                               $3,500,000.00   General Unsecured   19-12821
04/08/2019       82   Redi-Mix Concrete                             331 N Main St Euless, TX 76039                                 $42,032.00   General Unsecured   19-12821
04/08/2019       83   JCA - CAD                                     414 Sorenstam Way Cibolo, TX 78108                             $13,271.15   General Unsecured   19-12821
04/08/2019       84   Gomez & Son Fence Corp.                       P.O. Box 226915 Miami, FL 33222                                   $205.75   General Unsecured   19-12821
04/08/2019       85   Gomez & Son Fence Corp.                       P.O. Box 226915 Miami, FL 33222                                 $4,063.69   General Unsecured   19-12821
04/10/2019       86   Mr. Glass Doors & Windows Inc.                8120 NW 84th St. Medley, FL 33166                              $87,325.41   General Unsecured   19-12821
04/10/2019       87   Penhall Company                               7501 Esters Blvd., Ste. 150 Irving, TX 75063                  $444,596.53   General Unsecured   19-12821
                                                                    Herrera Law Firm, P.A. 2350 Coral Way Suite 201
04/10/2019       88 Grove Services of Miami, LLC                    Miami, FL 33145                                               $99,117.87 General Unsecured 19-12821
04/09/2019       89 777 Lakes LP                                    218 W. Wall Street Grapevine, TX 76051                        $53,959.20 General Unsecured 19-12821
                                                                    Ward Campbell, Haigood & Campbell PO Box 1066
04/12/2019       90 Haigood & Campbell LLC                          Archer City, TX 76351                                         $55,698.72 General Unsecured 19-12821
                    The Insurance Company of the State of
                    Pennsylvania on Behalf of the Entities Listed on Attn Kevin J Larner AIG Property Casualty, Inc. 80
04/11/2019       91 Exhibit A                                        Pine Street, 13th Floor New York, NY 10005           UNLIQUIDATED          General Unsecured 19-12821
                                                                     Americo Barreiro, President 25440 S.W. 140th Ave
04/04/2019       92 Barreiro Concrete Corp.                          Princeton, FL 33032-5433                                     $23,566.75 General Unsecured 19-12821
                    William & Phyllis Grossman as Co Trusteees of NAI Miami 9655 S. Dixie Hwy Ste 300 Miami, FL
04/09/2019       93 the 7990 Land Trust                              33156                                                        $25,698.45 General Unsecured 19-12821
                                                                     R. Scott Shuker 111 North Magnolia Avenue,
04/12/2019       94 Emily Joy Panagos                                Suite1400 Orlando, FL 32801                          UNLIQUIDATED          General Unsecured 19-12821
                                                                     R. Scott Shuker 111 North Magnolia Avenue, Suite
04/12/2019       95 Marquise Rashaad Hepburn                         1400 Orlando, FL 32801                               UNLIQUIDATED          General Unsecured 19-12821
                                                                     R. Scott Shuker 111 North Magnolia Avenue, Suite
04/12/2019       96 Alexander Estupinan                              1400 Orlando, FL 32801                               UNLIQUIDATED          General Unsecured 19-12821
                                                                     Arturo Armand, Esq. 10691 N Kendall Drive, Suite
04/12/2019       97 Pedro Adilio Cortes                              211 Miami , FL 33176                                 UNLIQUIDATED          General Unsecured   19-12821
04/15/2019       98 C.L. Elias Construction, Inc.                    7440 SW 50 Terrace, Unit 103 Miami, FL 33155                  $7,196.75    General Unsecured   19-12821
04/15/2019       99 C.L. Elias Construction, Inc.                    7440 SW 50 Terrace, Unit 103 Miami, FL 33155                  $7,092.35    General Unsecured   19-12821
04/15/2019      100 Setanta Machinery of Florida Inc.                PO Box 69096 Orlando, FL 32869                                $1,671.05    General Unsecured   19-12821
                                                                     Tesha Allison, Esq 5911 NW 173 Drive Suite 15
04/15/2019      101 Jose Perez                                       Miami, FL 33015                                             $372,528.89 General Unsecured 19-12821
                                                                     Honeywell Building Solutions 950 Keynote Circle
04/15/2019      102 Honeywell International, Inc                     Brooklyn Heights, OH 44131                                    $6,222.57 General Unsecured 19-12821
                                                                     Sharon Hayes 6700 Las Colinas Blvd E3L Irving, TX
04/15/2019      103 Fluor Enterprises Inc.                           75039                                                       $209,451.31 General Unsecured 19-12821
                                                                     Bankruptcy Section P.O. Box 22808 Jackson, MS
04/15/2019      104 Mississippi Department of Revenue                39225-2808                                           EXPUNGED              Priority            19-12821



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             Claim
Date Filed    No.                    Creditor Name                                         Address                      Claim Amount          Nature        Debtor Number
                                                                   Bankruptcy Section P.O. Box 22808 Jackson, MS
04/15/2019      104 Mississippi Department of Revenue              39225-2808                                         EXPUNGED           General Unsecured 19-12821
04/15/2019      105 OSCS, Inc.                                     6100 Rough Road Cleburne, TX 76031                            $591.32 General Unsecured 19-12821
04/16/2019      106 HJ Foundation Company                          8275 NW 80th Street Miami, FL 33166                       $154,370.74 General Unsecured 19-12821
                                                                   Curtis Morrow 14510 SW 284 St Hornestead, FL
04/16/2019      107 Curtis Painting and Waterproofing, Co.         33033                                                       $9,457.16 General Unsecured 19-12821
                                                                   Tesha Allison, Esq 5911 NW 173 Drive Suite 15
04/16/2019      108 Jose Perez                                     Miami, FL 33015                                           $372,528.89 General Unsecured 19-12821
                                                                   Margaret Fonshell Ward 11350 McCormick Road EP
04/16/2019      109 Matrax, Inc.                                   III, Suite 400 Hunt Valley, MD 21031                       $29,440.60 General Unsecured 19-12821
                                                                   Rinker Materials Five Concourse Pkwy, Ste 1900
04/16/2019      110 Hydro Conduit, LLC dba Rinker Materials        Atlanta, GA 30328-6111                                      $2,204.61 General Unsecured 19-12821
04/17/2019      111 List Industries Inc.                           401 Jim Moran Blvd. Deerfield Beach, FL 33442               $1,025.90 General Unsecured 19-12821
                                                                   Francisco De Caso y Basalo 1251 Memorial Drive,
04/17/2019      112 Structures and Materials Laboratory            #308 Coral Gables, FL 33146                                 $1,050.00 General Unsecured 19-12821
04/15/2019      113 C.L. Elias Construction, Inc.                  7440 SW 50 Terrace, Unit 103 Miami, FL 33155               $17,529.88 General Unsecured 19-12821
                                                                   Michael S. Davis, Esquire 2311 N. Andrews Ave. Ft.
04/18/2019      114 Terry Davis                                    Lauderdale, FL 33311                                      $150,000.00 General Unsecured 19-12821
04/18/2019      115 G&C Cartage Co., Inc.                          6801 W 12th Street Jacksonville, FL 32254                  $26,310.69 General Unsecured 19-12821
                                                                   7440 Southwest 50 Terrace, Unit 103 Miami, FL
04/15/2019      116 C.L. Elias Construction, Inc.                  33155                                                       $7,598.03 General Unsecured 19-12821
04/19/2019      117 Raptor Mining Products                         8150 NW 71st Miami, FL 33166                                $1,600.00 General Unsecured 19-12821
                                                                   7440 Southwest 50 Terrace, Unit 103 Miami, FL
04/15/2019      118 C.L. Elias Construction, Inc.                  33155                                                       $3,625.60 General Unsecured 19-12821
                                                                   7440 Southwest 50 Terrace, Unit 103 Miami, FL
04/15/2019      119 C.L. Elias Construction, Inc.                  33155                                                      $87,549.73 General Unsecured 19-12821
04/22/2019      120 Sunshine Heavy Hauling, Inc.                   4251 NW 133rd Street Opa-Locka, FL 33054                   $10,000.00 General Unsecured 19-12821
04/22/2019      121 Associated Flooring Co.                        14629 SW 104th Street, #504 Miami, FL 33186                 $3,475.67 General Unsecured 19-12821
                    HD SUPPLY Construction Supply, Ltd             Nicole Petrowski 501 W Church St Orlando, FL
04/17/2019      122 Construction & Industrial                      32805                                                     $109,989.38 General Unsecured 19-12821
                                                                   Attn Accounts Recievable 68 Jonspin Road
04/18/2019      123 Unifirst Corporation                           Wilmington, MA 01887                                        $3,913.69 General Unsecured 19-12821
                                                                   Law Offices of Jason Turchin 2883 Executive Park
04/22/2019      124 Lucia Mollo                                    Drive, Suite 103 Weston, FL 33331                         $975,000.00 General Unsecured 19-12821
                                                                   Rappaport Osborne & Rappaport, PLLC 1300 N.
04/22/2019      125 Sorrel Development                             Federal Hwy, Suite 203 Boca Raton, FL 33432                $89,897.00 General Unsecured 19-12821
                                                                   Law Offices of Jason Turchin 2883 Executive Park
04/22/2019      126 Sidney Casis                                   Drive, Suite 103 Weston, FL 33331                         $750,000.00 General Unsecured 19-12821




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                                                                   Linda D. Reece c/o Perdue Brandon Fielder et al
                      Carrollton-Farmers Branch Independent School 1919 S. Shiloh Road, Suite 310. LB 40 Garland, TX
04/23/2019      127   District                                     75042                                                                $600.06 Secured           19-12821
                                                                   H. Clay Roberts, Esq 2665 South Bayshore Drive,
04/23/2019      128   Jenna Mendez                                 Suite 300 Coconut Grove, FL 33133                         UNLIQUIDATED       General Unsecured 19-12821
04/24/2019      129   Ameriseal of Ohio, Inc.                      200 Weller Dr. Smithville, OH 44677                                $7,088.00 General Unsecured 19-12821
                      Gina Duran and Orlando Duran, as Co-
                      Personal Representatives of Estate of Alexa  Alan Goldfarb, Esq 100 S.E. 2nd Street, Suite 4500
04/25/2019      130   Duran, Deceased                              Miami, FL 33131                                           UNLIQUIDATED       General Unsecured 19-12821
04/25/2019      131   Cevacon Corporation                          11350 SW 145 Avenue Miami, FL 33186                               $28,076.89 General Unsecured 19-12821
                                                                   Spencer M. Aronfeld, Esq. 3132 Ponce de Leon Blvd
04/25/2019      132   Katrina Collazo de Armas and Alexander Armas Coral Gables, FL 33134                                    UNLIQUIDATED       General Unsecured 19-12821
                                                                   Thomas H. Leeder, Esq. c/o Hayley G. Harrison,
                                                                   Esquire Bast Amron LLP 1 SE 3rd Avenue, Suite
04/26/2019      133   Michael Sode                                 1400 Miami, FL 33131                                      UNLIQUIDATED       General Unsecured 19-12821
                                                                   Christos Lagos, Esq. 66 W Flagler Street, Suite 1000
04/29/2019      134   Alejandro Ramirez                            Miami, FL 33130                                           UNLIQUIDATED       General Unsecured 19-12821
04/29/2019      135   RC Group, LLC                                7500 NW 25th Street Suite 292 Miami, FL 33122                      $3,000.00 General Unsecured 19-12821
04/29/2019      136   Ring Power Corporation                       10421 Fern Hill Drive Riverview, FL 33578                         $31,679.01 General Unsecured 19-12821
                                                                   Saenz & Anderson PLLC 20900 NE 30th Ave., Ste.
04/29/2019      137   Idris Orta                                   800 Aventura, FL 33180                                            $100,000.00 General Unsecured 19-12821
                                                                   Hali E. Marsocci, Esq. P.O. Box 21349 West Palm
04/29/2019      138   Ramoy Goulbourne                             Beach, FL 33416                                           UNLIQUIDATED       General Unsecured 19-12821

                    Winsome Joy Campbell, Individually and as P.      Hali E. Marsocci, Esq. P.O. Box 21349 West Palm
04/29/2019      139 R of the Estate of Navaro Brown, Deceased         Beach, FL 33416                                        UNLIQUIDATED       General Unsecured 19-12821
                    Ana Maria Oviedo Garcia as Personal
                    Representative of the Estate of Rolando Fraga,    Christos Lagos, Esq. 66 W Flagler Street, Suite 1000
04/29/2019      140 Deceased                                          Miami, FL 33130                                        UNLIQUIDATED       General Unsecured 19-12821
                                                                      David Sampedro, Esq. 6950 N Kendall Drive Miami,
04/29/2019      141 Carlos Chapman & Erika Chapman                    FL 33156                                               UNLIQUIDATED       General Unsecured 19-12821
                    Plaintiff, Kimberly Babbitt, as Parent, Natural   Clayton Hanson, Brice Hanson, and Bailey Hanson
                    Guardian, and Guardian of the Property of         Gary D. Fox, Esq. One SE Third Avenue, Suite 3000
04/29/2019      142 Minor Children,                                   Miami, FL 33131                                        UNLIQUIDATED       General Unsecured 19-12821
                    Beacon Sales Acquisition, Inc. DBA Allied         c/o Lori Szymanski Allied Building Products 15 East
04/30/2019      143 Building Products                                 Union Ave East Rutherford, NJ 07073                              $6,751.43 General Unsecured 19-12821
04/30/2019      144 Kubota Credit Corporation                         PO Box 9013 Addison, TX 75001                                    $4,629.22 Secured           19-12821
05/02/2019      145 Days Inn                                          1700 W Broward Blvd Ft. Lauderdale, FL 33312           BLANK               General Unsecured 19-12821
                                                                      Andres Beregovich, Esq. 210 N. Mills Ave Orlando,
05/02/2019      146 Carlos Badillo                                    FL 32801                                               UNLIQUIDATED       General Unsecured 19-12821

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                                                                     Andres Beregovich, Esq 210 N. Mills Ave Orlando, FL
05/02/2019      147 Martha M. Plaza Cevallos                         32801                                               UNLIQUIDATED          General Unsecured 19-12821

                                                                     Timothy W. Brink c/o Meltzer, Purtill & Stelle 300
05/02/2019      148 XL Specialty Insurance Company                   South Wacker Drive, Suite 2300 Chicago, IL 60606       UNLIQUIDATED       Secured          19-12821

                                                                     Timothy W. Brink c/o Meltzer, Purtill & Stelle 300
05/02/2019      148 XL Specialty Insurance Company                   South Wacker Drive, Suite 2300 Chicago, IL 60606 UNLIQUIDATED             General Unsecured 19-12821
                    Chelsea Brownfield as P.R. of Estate of          Carlos Silva, Esq. Silva & Silva, P.A. 236 Valencia
05/02/2019      149 Brandon Brownfield                               Ave Coral Gables, FL 33134                               $50,000,000.00   General Unsecured 19-12821
                    Randy Hanson and Terry Hanson as Co-             Carlos Silva, Esq. Silva & Silva, P.A. 236 Valencia
05/02/2019      150 Plenary Guardian of Kevin Lee Hanson             Ave Coral Gables, FL 33134                              $100,000,000.00   General Unsecured 19-12821
                                                                     Timothy W. Brink c/o Meltzer, Purtill & Stelle 300
                                                                     South Wacker Drive, Suite 2300 Chicago, IL 60606-
05/02/2019      151 XL Insurance America, Inc.                       6704                                                UNLIQUIDATED          Secured          19-12821
                                                                     Timothy W. Brink c/o Meltzer, Purtill & Stelle 300
                                                                     South Wacker Drive, Suite 2300 Chicago, IL 60606-
05/02/2019      151 XL Insurance America, Inc.                       6704                                                UNLIQUIDATED          General Unsecured 19-12821

                                                                     Timothy W. Brink c/o Meltzer, Purtill & Stelle 300
05/02/2019      152 Indian Harbor Insurance Company                  South Wacker Drive, Suite 2300 Chicago, IL 60606       UNLIQUIDATED       Secured          19-12821

                                                                     Timothy W. Brink c/o Meltzer, Purtill & Stelle 300
05/02/2019      152 Indian Harbor Insurance Company                  South Wacker Drive, Suite 2300 Chicago, IL 60606       UNLIQUIDATED       General Unsecured 19-12821

                                                                     Timothy W. Brink c/o Meltzer, Purtill & Stelle 300
05/02/2019      153 Greenwich Insurance Company                      South Wacker Drive, Suite 2300 Chicago, IL 60606       UNLIQUIDATED       Secured          19-12821

                                                                       Timothy W. Brink c/o Meltzer, Purtill & Stelle 300
05/02/2019      153 Greenwich Insurance Company                        South Wacker Drive, Suite 2300 Chicago, IL 60606     UNLIQUIDATED       General Unsecured 19-12821
                                                                       Stuart Z. Grossman, Esq. Grossman Roth Yaffa
                                                                       Cohen, P.A. 2525 Ponce de Leon Boulevard, Suite
05/03/2019      154   Richard Luis Humble                              1150 Coral Gables, FL 33134                          UNLIQUIDATED       General Unsecured 19-12821
                                                                       Collazo Law Firm P.A. 10200 NW 25th Street, Suite
05/03/2019      155   Estate of Alberto Arias                          201 Miami, FL 33172                                  UNLIQUIDATED       General Unsecured 19-12821
                      Patricia Beville, as Parent and Natural Guardian Gonzalo Dorta, Esq. Dorta Law 334 Minorca Avenue
05/03/2019      156   of Malachi Hanson                                Coral Gables, FL 33134                                   $10,000,000.00 General Unsecured 19-12821
05/03/2019      157   Eugenia Xiomara Alvarez                          3636 W Flagler Miami, FL 33135                            $3,630,600.00 General Unsecured 19-12821
                                                                       Collazo Law Firm P.A. 10200 NW 25th Street, Suite
05/03/2019      158   Estate of Osvaldo Gonzalez                       201 Miami, FL 33172                                  UNLIQUIDATED       General Unsecured 19-12821

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                                                                Howard C Rubin Kessler & Collins, P.C. 2100 Ross
05/03/2019      159 Brookwood Embassy, LLC                      Avenue Suite 750 Dallas, TX 75201                         $257,825.91 General Unsecured 19-12821
05/06/2019      160 Selerix Systems, Inc.                       2851 Craig Dr Ste 300 McKinney, TX 75072                    $1,213.50 General Unsecured 19-12821
                                                                Karen B. Parkr, Esq. 2550 SO. Bayshore Drive, Suite
05/06/2019      161 Tropical Touch Gardens Center               102 Coconut Grove, FL 33133                               $161,470.17 General Unsecured 19-12821
                                                                Attn Erica Ryan 4501 College Blvd, Ste. 320
05/06/2019      162 AFCO Credit Corporation                     Leawood, KS 66211                                         $167,435.38 Secured              19-12821
                                                                Brendan Dunphy 22-08 Route 208 South Fair Lawn,
05/06/2019      163 Brandsafway Services LLC                    NJ 07410                                                  $341,306.70 General Unsecured 19-12821

                                                                    Attn Aaron McCollough McGuireWoods LLP 77 West
05/06/2019      164 Aetna Life Insurance Company and Its Affiliates Wacker Drive, Suite 4100 Chicago, IL 60601        UNLIQUIDATED       Secured           19-12821
                                                                    Richard Hill 10150 Old Columbia Road Columbia, MD
05/06/2019      165 Structural Technologies, LLC                    21046                                             UNLIQUIDATED       General Unsecured 19-12821
05/06/2019      166 A&B Pipe & Supply, Inc.                         6500 NW 37th Ave Miami, FL 33147                          $23,101.31 General Unsecured 19-12821

05/06/2019      167 USA SWPPP Inspections, Inc dba USA Erosion 237 Blackland Rd Royse City, TX 75189                     $57,256.99    General Unsecured 19-12821
                                                               Matt J. Farley 400 Poydras Street, Suite 2500 New
05/06/2019      168 Zurich American Insurance Company          Orleans, LA 70130                                      $2,000,000.00    Secured             19-12821
                                                               Matt J. Farley 400 Poydras Street, Suite 2500 New
05/06/2019      168 Zurich American Insurance Company          Orleans, LA 70130                                     $22,043,095.92    General Unsecured 19-12821
                                                               Keylin Olivares 12340 SW 117th Court Miami, FL
05/06/2019      169 Choppers Construction, Corp.               33186                                                      $6,161.36    General Unsecured 19-12821
                                                               Keylin Olivares 12340 SW 117th Court Miami, FL
05/06/2019      170 Choppers Construction, Corp.               33186                                                      $4,590.25    General Unsecured 19-12821
                                                               Margaret Fonshell Ward 11350 McCormick Road, EP
05/06/2019      171 Matrax, Inc.                               III, Suite 400 Hunt Valley, MD 21031              EXPUNGED              General Unsecured 19-12821
                                                               Emanuel & Zwiebel, PLLC 7900 Peters Road, Bldg
05/06/2019      172 De Lage Landen Financial Services, Inc.    B., Suite 100 Plantation, FL 33324                        $14,345.91    General Unsecured 19-12821
                                                               Emanuel & Zwiebel, PLLC 7900 Peters Road, Bldg
05/06/2019      173 De Lage Landen Financial Services, Inc.    B., Suite 100 Plantation, FL 33324                       $259,809.42    General Unsecured 19-12821
                    Paradise Awnings Corporation dba Paradise
05/07/2019      174 Architectural Panels and Steel             Manuel Alcibar 4310 NW 36th Ave. Miami, FL 33142         $721,710.27    General Unsecured 19-12821
                                                               Anthony D. Lehman 3575 Piedmont Rd, NE, Bldg. 15
05/07/2019      175 Gate Precast Company                       Suite 850 Atlanta, GA 30305                              $308,497.40    General Unsecured   19-12821
05/07/2019      176 Striping Technology, L.P.                  10112 County Road 489 Tyler, TX 75706                     $10,143.66    General Unsecured   19-12821
05/07/2019      177 Great Plains Farms, LLC                    3790 South Eaton Street Denver, CO 80235                 $500,000.00    General Unsecured   19-12821
05/07/2019      178 Crown Castle Fiber LLC                     2000 Corporate Drive Cannonsburg, PA 15317                 $8,261.85    General Unsecured   19-12821

05/07/2019      179 Barnhart Crane And Rigging Company          Alison Smith 2163 Airways Blvd Memphis, TN 38114 UNLIQUIDATED          General Unsecured 19-12821

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05/07/2019      180 Barnhart Crane And Rigging Company               Alison Smith 2163 Airways Blvd Memphis, TN 38114             $439,166.25 General Unsecured 19-12821
05/07/2019      181 FIA Trade Company                                2801 NW 74 Ave Suite 210 Miami, FL 33122                       $3,807.50 General Unsecured 19-12821
                                                                     10701 S. River Front Pkwy #300 South Jordan, UT
05/07/2019      182 Boral Resources LLC                              84095                                                          $1,116.68 General Unsecured 19-12821
                                                                     Helen H. Albee, Esq. Tritt & Assoc., P.A. 707
05/07/2019      183 Island Mechanical Contractors, Inc.              Peninsular Place Jacksonville, FL 32204                    $2,010,907.00 General Unsecured 19-12821
                                                                     Brett M. Rosen 1111 Brickell Ave., #2180 Miami, FL
05/07/2019      184 Abel De-Armas Nunez                              33131                                                UNLIQUIDATED        General Unsecured 19-12821
                                                                     H. Clay Roberts, Esq. 2665 South Bayshore Drive,
05/07/2019      185 Damian Mendez                                    Suite 300 Coconut Grove, FL 33133                    EXPUNGED            General Unsecured 19-12821
                    The Florida International University Board of    Monica D. Hayes, Esq. 199 E. Flagler St., #405
05/08/2019      186 Trustees                                         Miami, FL 33131                                           $15,256,503.86 General Unsecured 19-12821
                    Walda Ortiz, as Marital Spouse of Pedro Adilio   Arturo Armand, Esq 10691 N Kendall Drive, Suite
05/08/2019      187 Cortes                                           211 Miami, FL 33176                                  UNLIQUIDATED        General Unsecured 19-12821
                                                                     Alexander Baisden 400 N Pine Island Road
05/08/2019      188 Armando Campo                                    Plantation, FL 33325                                        $400,000.00 General Unsecured 19-12821
05/08/2019      189 Hufcor, Inc.                                     2101 Kennedy Rd. Janesville, WI 53545                UNLIQUIDATED       Secured           19-12821
05/08/2019      189 Hufcor, Inc.                                     2101 Kennedy Rd. Janesville, WI 53545                UNLIQUIDATED       Admin Priority    19-12821

05/08/2019      189 Hufcor, Inc.                                     2101 Kennedy Rd. Janesville, WI 53545                Created for Objection General Unsecured 19-12821
                    Paradise Awnings Corporation dba Paradise
05/08/2019      190 Architectural Panels and Steel                   Manuel Alcibar 4310 NW 36th Ave. Miami, FL 33142 EXPUNGED          Secured           19-12821
                                                                     Lee A. Smith 1100 NASA Parkway, Ste. 402
05/08/2019      191 Erosion Prevention Products, LLC                 Houston, TX 77058                                      $378,759.67 General Unsecured 19-12821
                                                                     c/o Jacquolyn Mills Waste Management 1001 Fannin
05/08/2019      192 Waste Management Inc. of Florida                 Street Houston, TX 77002                                $28,822.74 General Unsecured 19-12821
                    Paradise Awnings Corporation dba Paradise
05/08/2019      193 Architectural Panels and Steel                   Manuel Alcibar 4310 NW 36th Ave. Miami, FL 33142 EXPUNGED                Secured           19-12821
05/08/2019      194 ABC Construction, Inc.                           7215 Northwest 7 Street Miami, FL 33126                 $134,227.34      General Unsecured 19-12821
                                                                     Heather A. DeGrave Walters Levine Lozano &
                                                                     DeGrave 601 Bayshore Blvd., Suite 720 Tampa, FL
05/08/2019      195 Herc Rentals, Inc.                               33606                                                   $140,707.40      General Unsecured 19-12821
                                                                     c/o Lawrence J. Kotler, Esq. Duane Morris LLP 30
05/08/2019      196 United Homecare Services, Inc.                   South 17th Street Philadelphia, PA 19103-4196         $4,055,243.67      General Unsecured 19-12821
05/08/2019      197 Greener Pastures Landscaping LLC                 Bryan Dubose 1839 Ryan Rd Dallas, TX 75220               $38,767.82      Admin Priority    19-12821
05/08/2019      197 Greener Pastures Landscaping LLC                 Bryan Dubose 1839 Ryan Rd Dallas, TX 75220               $42,725.90      General Unsecured 19-12821

                    Enterprise Fleet Management, Inc./Enterprise     Arthur C. Neiwirth, Esq. QPWB Law 1 East Broward
05/08/2019      198 FM Trust                                         Blvd., Ste 1200 Ft. Lauderdale, FL 33301                      $22,161.78 Secured            19-12821

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                                                                   c/o Jeremy Sahn Becker 1 East Broward Blvd., Floor
05/08/2019      199 HYVAC, Inc.                                    18 Fort Lauderdale, FL 33301                                   $51,986.18 General Unsecured 19-12821
                                                                   c/o Sweigart Law Group, P.A. 12161 Ken Adams
05/08/2019      200 Airquest Environmental, Inc.                   Way, Suite 123 Wellington, FL 33414                           $126,349.75 General Unsecured 19-12821
                                                                   Scott A. Underwood, Esq. 401 E. Jackson St. Suite
05/08/2019      201 Ash Grove Cement Company                       2400 Tampa, FL 33611                                          $193,367.34 General Unsecured 19-12821
05/08/2019      202 Maya Enterprises, Inc.                         8180 N.W. 29th St Doral, FL 33122                               $7,744.43 General Unsecured 19-12821
                    Z.A. a minor, by and through her parents and   Spencer M. Aronfeld, Esq. 3132 Ponce de Leon Blvd
05/08/2019      203 natural guardians                              Coral Gables, FL 33134                                 UNLIQUIDATED       General Unsecured 19-12821
                                                                   Lauren L. Stricker, Esq. c/o Shutts & Bowen LLP
                                                                   4301 W. Boy Scout Blvd., Suite 300 Tampa, FL
05/08/2019      204 Tequesta Knoll, LLC                            33607                                                  EXPUNGED           General Unsecured 19-12821
                                                                   Lauren L. Stricker, Esq. c/o Shutts & Bowen LLP
                                                                   4301 W. Boy Scout Blvd., Suite 300 Tampa, FL
05/08/2019      205 Osprey Apartments, LLC                         33607                                                  EXPUNGED           Secured           19-12821
                                                                   Lauren L. Stricker, Esq. c/o Shutts & Bowen LLP
                                                                   4301 W. Boy Scout Blvd., Suite 300 Tampa, FL
05/08/2019      205 Osprey Apartments, LLC                         33607                                                  EXPUNGED           General Unsecured 19-12821
                                                                   Jeffrey T. Kucera, Esq. 201 S. Biscayne Blvd., Suite
05/08/2019      206 Core & Main, LP                                3900 Miami, FL 33131                                         $4,797,547.48 General Unsecured 19-12821
                                                                   Dohan Law 2020 Ponce de Leon Blvd., Suite 1006
05/08/2019      207 Jorge Sariol                                   Coral Gables, FL 33134                                 W/D                General Unsecured 19-12821
05/08/2019      208 Gannett Fleming, Inc.                          207 Senate Avenue Camp Hill, PA 17011                          $33,252.57 General Unsecured 19-12821
                                                                   Daniel Te Young, Esq. 1600 South Federal Highway,
05/08/2019      209 Ceres Environmental Services, Inc.             Suite 570 Pompano Beach, FL 33062                      UNLIQUIDATED       General Unsecured 19-12821
                                                                   c/o Shutts & Bowen LLP Lauren L. Stricker, Esq.
                                                                   4301 W. Boy Scout Blvd., Suite 300 Tampa, FL
05/08/2019      210 Coalition Lift, LLC                            33607                                                  EXPUNGED           Secured           19-12821
                    Gannett Fleming Project Development            Gannett Fleming Project Development Corp. 207
05/08/2019      211 Corporation                                    Senate Ave Camp Hill, PA 17011                                 $43,365.34 General Unsecured 19-12821
                                                                   c/o Fullerton & Knowles, P.C. United Rentals 12642
05/08/2019      212 United Rentals (North America), Inc.           Chapel Rd Clifton, VA 20124                                   $293,434.63 General Unsecured 19-12821
                                                                   Courtney Rhoades 100 N. Michigan Street South
05/08/2019      213 1st Source Bank                                Bend, IN 46601                                         W/D                Secured           19-12821
                                                                   Jason L. Cagle 13737 Noel Road, Suite 850 Dallas,
05/08/2019      214 Griffith Davison, P.C.                         TX 75240                                                       $85,137.21 General Unsecured 19-12821
                                                                   Scott A. Underwood, Esq. 401 E. Jackson St. Suite
05/08/2019      215 Ash Grove Cement Company                       2400 Tampa, FL 33611                                   EXPUNGED           General Unsecured 19-12821
                                                                   Matthew Maranges, Esq. 8000 SW 117 Ave, Ste 206
05/08/2019      216 Arazoza Brothers Corporation                   Miami, FL 33183                                                $12,002.64 General Unsecured 19-12821

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05/08/2019       217 Gannett Fleming, Inc.                         207 Senate Avenue Camp Hill, PA 17011                    $1,420,186.29 General Unsecured 19-12821
05/08/2019       218 Gannett Fleming, Inc.                         207 Senate Avenue Camp Hill, PA 17011                      $548,752.46 General Unsecured 19-12821
                     Travelers Casualty and Surety Company of      Attn Michael Collins Manier & Herod, P.C. 1201
05/08/2019       219 America                                       Demonbreun St., Suite 900 Nashville, TN 37219           $25,955,920.58 Secured             19-12821
                                                                   Patrick M. Mosely Hill Ward Henderson 101 E
05/08/2019       220 Berkshire Hathaway Specialty Insurance        Kennedy Blvd., Suite 3700 Tampa, FL 33602          UNLIQUIDATED           Secured          19-12821
                                                                   Gary M. Freedman, Esq. 2 South Biscayne Blvd.,
05/08/2019       221 Lehigh Cement Company LLC                     Suite 2100 Miami, FL 33131                         UNLIQUIDATED           General Unsecured 19-12821
                     Travelers Casualty and Surety Company of
                     America (as assignee of Bank of America,      Attn Michael Collins Manier & Herod, P.C. 1201
05/08/2019       222 N.A.)                                         Demonbreun St., Suite 900 Nashville, TN 37219             $6,295,744.45   Secured          19-12821
                                                                   c/o Sherry Parks 9370 SW 72nd Street Miami, FL
05/08/2019       223 Shanika Passmore                              33173                                                       $175,000.00   General Unsecured 19-12821
                                                                   Fernando Menendez, Esq. 1001 Brickell Bay Dr. 9th
05/08/2019       224 T.Y. Lin International                        Floor Miami, FL 33131                                     $1,665,071.18   General Unsecured 19-12821
                                                                   c/o Erik Alverez 9370 SW 72nd Street Miami, FL
05/08/2019       225 Tania Vivian Espinosa Vera                    33173                                                       $975,000.00   General Unsecured 19-12821
                                                                   Jeffrey T. Kucera, Esq. 201 S. Biscayne Blvd., Suite
05/09/2019       226 Core & Main, LP                               3900 Miami, FL 33131                                 EXPUNGED             General Unsecured 19-12821
                                                                   1970 N.E. 153rd Street Bay 7 North Miami Beach, FL
05/07/2019       227 Atlantic Shutters, Inc.                       33162                                                       $354,094.00   General Unsecured 19-12821
                                                                   Andrew T. Jenkins, Esq. Bush Ross, P.A. 1801 N.
05/09/2019       228 Bank of America, N.A.                         Highland Ave Tampa, FL 33602                                 $55,000.00   Secured          19-12821
                                                                   c/o A. Martinez-Molina Weiss Serota Helfman 2525
                                                                   Ponce de Leon Blvd., Suite 700 Coral Gables, FL
05/09/2019       229 Fisk Electric Company                         33134                                                W/D                  General Unsecured 19-12821
                                                                   Michelle G. Hendler, Esq. 200 South Biscayne
05/09/2019       230 Unlimited Turf, LLC                           Boulevard, Suite 4100 Miami, FL 33131                     $2,933,217.93   General Unsecured 19-12821
                                                                   Attn Ms. Donna Raine 777 South Andrews Avenue
05/09/2019       231 Allegiance Crane & Equipment, LLC             Pompano Beach, FL 33069                                     $170,803.50   General Unsecured 19-12821

                                                                   Joshua Golembe Butler Weihmuller Katz Craig, LLP
05/09/2019       232 Georges Crane Service, Inc.                   400 N. Ashley Drive, Suite 2300 Tampa, FL 33602    UNLIQUIDATED           General Unsecured 19-12821
                                                                   Attn Kimberly A. Bremer 2190 N.W. 110th Avenue
05/09/2019       233 Georges Crane Service, Inc.                   Miami, FL 33172                                    UNLIQUIDATED           General Unsecured 19-12821
                                                                   Ross R. Hartog 101 NE Third Avenue, Suite 1210
05/09/2019       234 Kelly Tractor Company                         Fort Lauderdale, FL 33301                                   $66,380.38 General Unsecured 19-12821
                                                                   Ross R. Hartog 101 NE Third Avenue, Suite 1210
05/09/2019       234 Kelly Tractor Company                         Fort Lauderdale, FL 33301                                   $86,975.84 Admin Priority      19-12821



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             Claim
Date Filed    No.                      Creditor Name                                  Address                         Claim Amount               Nature     Debtor Number

                                                                 Joshua Golembe Butler Weihmuller Katz Craig, LLP
05/09/2019      235 Allegiance Crane & Equipment, LLC            400 N. Ashley Drive, Suite 2300 Tampa, FL 33602    UNLIQUIDATED          General Unsecured 19-12821

                                                                 Patricia A. Redmond FBN 303739 Stearns Weaver
05/09/2019      236 Figg Bridge Engineers, Inc.                  150 West Flagler St., #2200 Miami, FL 33130         UNLIQUIDATED         General Unsecured 19-12821
                                                                 Jon Kendrick, Esq. 1776 N Pine Island Rd. Suite 118
05/09/2019      237 Advanced Roofing, Inc.                       Plantation, FL 33322                                       $768,432.73   General Unsecured 19-12821
                                                                 Christopher W. Royer, Esq. 12 S.E.7th Street, Ste.
05/10/2019      238 Nathaniel Butler                             801 Fort Lauderdale, FL 33301                            $2,000,000.00   General Unsecured 19-12821
                                                                 1970 N.E. 153rd Street Bay 7 North Miami Beach, FL
05/10/2019      239 Atlantic Shutters, Inc.                      33162                                               EXPUNGED             General Unsecured 19-12821
05/10/2019      240 Superior Electrical Contractors, Inc.        2151 NW 93rd Ave Doral , FL 33172                           $91,845.42   General Unsecured 19-12821
05/10/2019      241 Bane Machinery, Inc                          PO Box 541355 Dallas, TX 75354                              $12,181.06   General Unsecured 19-12821
                                                                 4152 W. Blue Heron Blvd. Ste #1114 Riviera Beach,
05/10/2019      242 Radise International, LC                     FL 33404                                                    $21,540.50   General Unsecured 19-12821

05/10/2019      243 Chandler Signs                               14201 Sovereign Rd Ste 101 Fort Worth, TX 76155            $39,137.00 General Unsecured 19-12821
                                                                 Lauren L. Stricker, Esq. c/o Shutts & Bowen LLP
                                                                 4301 W. Boy Scout Blvd., Suite 300 Tampa, FL
05/13/2019      244 Tequesta Knoll, LLC                          33607                                              UNLIQUIDATED          General Unsecured 19-12821
                                                                 Lauren L. Stricker, Esq. c/o Shutts & Bowen LLP
                                                                 4301 W. Boy Scout Blvd., Suite 300 Tampa, FL
05/13/2019      245 Osprey Apartments, LLC                       33607                                              UNLIQUIDATED          Secured          19-12821
                                                                 Lauren L. Stricker, Esq. c/o Shutts & Bowen LLP
                                                                 4301 W. Boy Scout Blvd., Suite 300 Tampa, FL
05/13/2019      245 Osprey Apartments, LLC                       33607                                              UNLIQUIDATED          General Unsecured 19-12821
                                                                 c/o Shutts & Bowen LLP Lauren L. Stricker, Esq.
                                                                 4301 W. Boy Scout Blvd., Suite 300 Tampa, FL
05/13/2019      246 Coalition Lift, LLC                          33607                                              UNLIQUIDATED          Secured          19-12821
                                                                 c/o Shutts & Bowen LLP Lauren L. Stricker, Esq.
                                                                 4301 W. Boy Scout Blvd., Suite 300 Tampa, FL
05/13/2019      246 Coalition Lift, LLC                          33607                                              UNLIQUIDATED          General Unsecured 19-12821
                                                                 Bankruptcy Section P.O. Box 22808 Jackson, MS
05/13/2019      247 Mississippi Department of Revenue            39225-2808                                         EXPUNGED              Priority         19-12821
                                                                 Bankruptcy Section P.O. Box 22808 Jackson, MS
05/13/2019      247 Mississippi Department of Revenue            39225-2808                                         EXPUNGED              General Unsecured 19-12821
                                                                 Dan Logan, Esquire M. Daniel Logan, PLLC 360
                                                                 Columbia Drive, Suite 100 West Palm Beach, FL
05/13/2019      248 Madina Sod Corporation                       33409                                                     $245,065.60 General Unsecured 19-12821

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Date Filed    No.                     Creditor Name                                    Address                             Claim Amount             Nature       Debtor Number

                                                                 Ira L. Libanoff, Esq. Ferencik Libanoff Brandt PA 150
05/13/2019      249 Caribe Utilities of Florida, Inc.            S. Pine Island Rd., Ste. 400 Plantation, FL 33324               $92,035.37 General Unsecured 19-12821
                                                                 Dan Logan, Esquire 360 Columbia Drive, Suite 100
05/13/2019      250 Van Linda Iron Works, Inc                    West Palm Beach, FL 33409                                      $182,278.87 General Unsecured 19-12821
                                                                 Scott Griffith Griffith Davison, PC 13737 Noel Road,
05/13/2019      251 RPM xConstruction, LLC                       Suite 850 Dallas, TX 75240                                     $154,803.02 General Unsecured 19-12821
                                                                 ECM Management of FL LLC 10342 Abbotsford Drive
05/14/2019      252 ECM Management of Florida LLC                Tampa, FL 33626                                                 $6,687.39 General Unsecured 19-12821
05/13/2019      253 John Westley                                 3432 Denmark Ave. #188 Saint Paul, MN 55123             EXPUNGED          General Unsecured 19-12821
                                                                 Mary Lou Segouia 4701 Altamesa Blvd #1G Ft.
05/10/2019      254 Avanza Construction & Earthworks LLC         Worth, TX 76133                                                 $53,598.00 General Unsecured 19-12821
                                                                 Scott Griffith Griffith Davison, PC 13737 Noel Road,
05/15/2019      255 RPM xConstruction, LLC                       Suite 850 Dallas, TX 75240                              EXPUNGED            General Unsecured 19-12821
                                                                 Edward J. Peterson, Esq. Stichter, Riedel 110 E.
05/08/2019      256 Cemex Construction Materials Florida, LLC    Madison St., #200 Tampa, FL 33602                       UNLIQUIDATED        General Unsecured 19-12821
                                                                 H. Clay Roberts, Esq. 2665 South Bayshore Drive,
05/15/2019      257 Damian Mendez                                Suite 300 Coconut Grove, FL 33133                       UNLIQUIDATED        General Unsecured 19-12821
                    USA Erosion (Referenced in Debtors Schedule
                    E/F as Unsecured Creditor 3. 1084 (Dkt 5 at c/o Leland de la Garza Hallett & Perrin, P.C. 1445
05/17/2019      258 221))                                       Ross Ave., Suite 2400 Dallas, TX 75202                           $57,256.99 General Unsecured 19-12821
05/17/2019      259 UniFirst Corporation                        8070 NW 77th Court Medley, FL 33166                               $4,658.32 General Unsecured 19-12821
                                                                118 Flanders Road, Suite 1000 Westborough, MA
05/20/2019      260 United Site Services of Florida LLC         01581                                                            $22,975.34 General Unsecured 19-12821
                    Concrete Holdings & Services, LLC dba C&C   C&C Concrete Pumping 12599 NW 107th Ave
05/21/2019      261 Concrete Pumping                            Medley, FL 33178                                                 $12,989.50 General Unsecured 19-12821
05/20/2019      262 Central Tire Corp.                          8275 N.W. 74th Street Medley, FL 33166                            $5,278.93 General Unsecured 19-12821
                                                                5380 S.W. 208th Lane Southwest Ranches, FL
05/29/2019      263 Eagle Grinding and Grooving LLC             33332                                                             $4,500.00 General Unsecured 19-12821
                                                                Office of the Attorney General Bankruptcy &
                                                                Collections Division PO Box 12548, MC-008 Austin,
06/04/2019      264 Texas Comptroller of Public Accounts        TX 78711                                                 W/D                 Priority            19-12821
                                                                Bankruptcy Section MS Department of Revenu PO
06/24/2019      265 Mississippi Department of Revenue           Box 22808 Jackson, MS 39225-2808                                 $46,252.78 Priority             19-12821
                                                                Bankruptcy Section MS Department of Revenu PO
06/24/2019      265 Mississippi Department of Revenue           Box 22808 Jackson, MS 39225-2808                                 $4,308.28   General Unsecured   19-12821
07/01/2019      266 Martin County Tax Collector                 3485 SE Willoughby Blvd Stuart, FL 34994                        $15,720.02   Secured             19-12821
07/01/2019      267 Martin County Tax Collector                 3485 SE Willoughby Blvd Stuart, FL 34994                        $15,720.02   Secured             19-12821
07/08/2019      268 Martin County Tax Collector                 3485 SE Willoughby Blvd Stuart, FL 34994                 EXPUNGED            Secured             19-12821
07/08/2019      269 Martin County Tax Collector                 3485 SE Willoughby Blvd Stuart, FL 34994                 EXPUNGED            Secured             19-12821

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             Claim
Date Filed    No.                   Creditor Name                                           Address                          Claim Amount           Nature       Debtor Number
07/09/2019       270 St Lucie County Tax Collector                   PO Box 308 Fort Pierce, FL 34954                      UNLIQUIDATED       Secured           19-12821
                                                                     Elizabeth Weller Linebarger Goggan Blair &
                                                                     Sampson, LLP 2777 N. Stemmons Freeway, Suite
07/15/2019       271   Dallas County                                 100 Dallas, TX 75207                                  W/D                Secured           19-12821
                                                                     Elizabeth Weller Linebarger Goggan Blair &
                                                                     Sampson, LLP 2777 N. Stemmons Freeway Suite
07/22/2019       272   Dallas County                                 100 Dallas, TX 75207                                  W/D                 Secured           19-12821
07/22/2019       273   Four Seasons Equipment, LLC                   P.O. Box 4782 Houston, TX 77210                                 $4,415.83 General Unsecured 19-12821
08/15/2019       274   Sunbelt Rentals Inc                           2015 Directors Row Orlando, FL 32809                           $20,267.99 General Unsecured 19-12821
                       Department of the Treasury - Internal Revenue Internal Revenue Service PO Box 7346 Philadelphia,
08/19/2019       275   Service                                       PA 19101-7346                                                    $100.00 Priority          19-12821
                                                                     Kyle Pierce Counce P.O. Box 12548 Austin, TX
08/21/2019       276   The State of Texas                            78711                                                        $141,065.49 General Unsecured 19-12821
                                                                     Michelle V. Larson Carrington Coleman Sloman &
                                                                     Blumenthal LLP 901 Main Street, Suite 5500 Dallas,
08/27/2019       277   North Texas Tollway Authority                 TX 75202                                              UNLIQUIDATED       Secured           19-12821
                                                                     c/o A. Martinez Molina Weiss Serota Helfman 2525
                                                                     Ponce de Leon Blvd., Suite 700 Coral Gables, FL
08/27/2019       278   City of Homestead                             33134                                                        $151,449.60 General Unsecured 19-12821
                                                                     c/o Jeffrey Bast, Esq Bast Amron LLP 1 SE 3rd
08/27/2019       279   Florida Department of Transportation          Avenue, Suite 1400 Miami, FL 33131                    UNLIQUIDATED       General Unsecured 19-12821
                                                                     Bryan C. Whitaker 8899 E. 56th Street Indianapolis,
08/29/2019       280   United States Department of Defense           IN 46249                                                    $9,200,874.00 General Unsecured 19-12821
                                                                     Miami-Dade County Bankruptcy Unit 200 NW 2nd
09/04/2019       281   Miami-Dade County Tax Collector               Avenue Miami, FL 33128                                UNLIQUIDATED       Secured           19-12821
                                                                     James S. Myers, Esquire 201 East Kennedy
09/24/2019       282   Axis Insurance Company                        Boulevard, Suite 815 Tampa, FL 33602                         $929,303.72 Secured           19-12821
                                                                     PC882-Region 5 Credit Dept. 2015 Directors Row
09/13/2019       283   Sunbelt Rentals Inc                           Orlando, FL 32809                                             $21,938.06 General Unsecured 19-12821
10/01/2019       284   Amroad LLC                                    3975 Pembroke Road Hollywood, FL 33021-8126                    $7,604.67 Secured           19-12821
10/04/2019       285   Alpha Divers Mia LLC                          2750 NW North River Drive Miami, FL 33155             UNLIQUIDATED       General Unsecured 19-12821
                       Department of the Treasury - Internal Revenue Internal Revenue Service PO Box 7346 Philadelphia,
10/29/2019       286   Service                                       PA 19101-7346                                                      $0.00 General Unsecured 19-12821
                                                                     5290 Shawnee Road, Suite 300 Alexandria, VA
11/18/2019       287   ABC Imaging of Washington, Inc.               22312                                                           $7,137.39 General Unsecured 19-12821
11/19/2019       288   AmeriTemp Employment II, Inc.                 15301 NW 7th Avenue Miami, FL 33169                            $33,194.08 General Unsecured 19-12821
                                                                     Counsel for Bridge Collapse Bodily Injury Claimants
                       Kozyak Tropin & Throckmorton, LLP (Filed as 2525 Ponce de Leon Blvd., 9th Floor Miami, FL
12/20/2019       289   Docket No. 727)                               33134                                                         $14,517.65 Secured           19-12821



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